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Page 338.
1 MR. KLINE: Objection to the Po
2 introduction. | 2 group in the VIGOR study. If you only
3. BY MR. GOLDMAN: i 3 looked at the VIGOR study without looking
4 Q. Dr. Topol, was there a five : 4 at any other data, you wouldn't be able
5 times difference in heart attacks in the ' § to telf the reason for the difference in
6 Vioxx group versus the naproxen group in ' 6 heart attacks in the Vioxx group versus
7 the VIGOR study? 7 naproxen, is that right?
5 ME. HaAMolic, oo, Cart at emerrnenrerimareremtbrssia
9 just interject a comment here. 9 understand that question.
10 You're asking him very specific : 210 Q. Tf you just look at the ,
11 questions about the data in the ‘221 VIGOR study --
12 VIGOR study without putting the :12 A. Yes.
13 VIGOR study in front of him. To ‘13 Q. -- at the time that it was
14 the extent that Dr. Topol has °14 done and you don't consider any data
15 memorized all of this or put it /15 outside of the VIGOR study --
16 into subsequent articles, that's 16 A. Yes.
17 fine. I'm just trying to make 17 Q. -- you don't know whether
18 sure that the answers are fair and /18~ the difference in heart attacks between
13 complete. “1S Vioxx and naproxen was due to Vioxx --
29 AoE Sty Okay. $20 A. Qh, I see.
ys BE go ae Q.  -- naproxen or chance.

Let me > back: up, Dr. Topol "22 A. Now T understand your
I think you said in one of your previous :23 question. Okay. So, first --
t answers that there were 20 heart attacks = 2400 QQ. Is thatraght?

seen in the Vioxx group and 4 heart i A. Yes, you do know. That is,
attacks seen m the naproxen group. 2 |reviewed this this moming, but just to
Right? 2 recap. When you're doing clinical trials
A. That's correct. 4 with an experimental drug, in this case,
Q. That's a five times 5 it's Vioxx, versus a drug that's been
difference; right? 6 around for 20 years, in this case,
im A. . That's correct. 7? naproxen, which is considered the contro]
ee nr oe 8 arm, not a placebo, but a control arm,

9 patients in the Vioxx group had heart $ andif you have an untoward event crop up
10 attacks? 1° like occurred in the VIGOR trial, one has
11 A. That would be 20 of 4,047. . 11 to assume that it's the experimental drug
12 So, that would be approximately -- I 12 excess that's the problem rather than
13 don't have a calculator, but it would be 13 what was introduced by Merck, which ts
14 approximately .5 percent. 14 substantiated in the Targum report and
15 Q. One half of one percent? - 15 other places, which is that it was a
16 A. One half of one percent. if protective effect of naproxen which was
i? Q. Do you know what the 17 not documented. The only appropriate
13 percentage of heart attacks in the 28 conclusion would have been that there was
19 naproxen group was? 13 a problem with the experimental drug,

20 A. Well, that was 4 out of 20 which in this case was Vioxx.

21 4,029, which is less than .1 percent. 2i Q. Is it your testimony, Dr.

22 Q. Or less than one-tenth of 22 Topol, that when you reviewed the VIGOR
23° one percent? 23. study, it was your conclusion that Vioxx
24 A. That's correct. 24 caused the difference in heart attacks

86 (Pages 338 te 241)
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Page 242 Page 344
and not naproxen and not chance? 1 onthe FDA website; right?
A. Yes. That was our 2 A. Yes. And I have even
conclusion, but we did not at that time ' 3 reviewed the transcript of this meeting
have the replication that was needed to 4 in depth, yes, in the past.
say that this drug should be taken off 1 5 Q. You also know then that the
the market or something drastic. What we : € presentations that are made during the
did say, as we wrote in the JAMA paper, 7 Advisory Committee meeting are also
as you well know and I reviewed earlier, Bo Avallaole Of Mie PO welsitc, Tent:
is that more data were needed, and : 9 A. That's correct. And I've
10 specific significant caution must be ‘10 reviewed the presentations as well.
11 Q. During the Advisory
12 Committee meeting that your colleague,
- ARO TRAINEE " 13 Dr. Nissen, attended, Merck gave a
Admunistration hold a special Advisory i14 presentation; right?
15 Conumittee meeting in February of 2001 to 15 A. Merck gave a substantial
16 discuss the question of whether COX-2 /16 presentation, that's right.
17 inhibitors cause heart problems? 7 Q. Pfizer gave a presentation
18 A. Yes. They had, asi :18 about Celebrex; correct?
19 mentioned this morning, a two-day /13 A. That was on a different day,
20 conference, one for each of the drugs, ‘20° yes.
1 Celebrex and Vioxx. “21 Q. The FDA made a presentation
22 Q. What is an FDA Advisory '22 as well; correct?
23 Committee briefly, sir? 23 A. Yes.
2t A. Well, a panel of experts are 3 a4 Q. The FDA also prepared
Pages 343 Page 345
2 brought in, and the data are reviewed, 1 background materials for the Advisory
2 and there's recommendations by the panel 2 Committee, analyzing the clinical triais
3 to give to the FDA staff, and the FDA 3 that had been dane on Vioxx and Celebrex;
4 staff can either accept or reject those 4 correct, sir?
5 recommendations. But this is a pane! of 5 A. That's correct.
6 experts. In this particular case, it was 6 Q. After the presentations were
? predominantly rheumatologists. There 7 made, the Advisory Conimittee discussed
8 were only two cardiologists who were & the issues, including the risk of --
9 invited to the panel to review Vioxx and 9 cardiovascular risk that was potentially
10 Celebrex. -20 associated with COX-2 inhibitors; right’?
11 Q. One of the cardiologists who Li A. Inreviewing that,
12 was on the Advisory Committee was your i2 transcripts and the presentations and
13 colleague, Dr. Steven Nissen; is that 13 also discussing this with Dr. Targum, who
14° right? 14 had the most important data, that is,
15 A. Yes, 15 VIGOR, 085 and 090, she was given less
Lé Q. He isa well-respected 16 than five minutes to present her
1? cardiologist, correct, sir? 17 findings, which were only really
18 A. Yes. 18 understood by reviewing the report in
13 Q. The FDA Advisory Committee 12 depth. Her slides are on the FDA website
20 meetings that are held, those are open to 20 still, They do not adequately convey the
21. the public, aren't they, Dr. Topol? Zi concems that she registered, and I'll be
22 A. Yes. 22 happy to review some of the statements
23 Q. The transcripts from the 23 that are in her report which are highly
24 Advisory Comimittee meetings are available 24 disturbing and concerning. So. in
a7 (Pages 2342 to 345
A05Aaeed Adda ABOT-87 d2-Z3iedatcsfst

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effect, Dr. Targum, who did the most
thorough review, cardiologist at the FDA,
never had her chance to express her views
at least as she’s conveyed to me and
certainly as conveyed by reviewing the
FDA slides and her -- and the transcript
of that day.

Advisory Committee; right, sir?

A. I believe that's what -- she
did it for that advisory panel, but I
don't know -~ what you're asking is, was
it distributed to the panelists in
advance? I don't know that. I wasn't
there. This was Dr. Nissen's first FDA

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We init YOU TESTIMITy -
Topol, that Shari Targum of the FDA was |
not permitted by the FDA to get up and
give a full presentation of what she
thought about the risks, if any,
associated with COX-2 inhibitors?

A. She conveyed that ta me in a
telephone conversation, exactly the sense
that she did not -- she was not able to
evoke enough concern among the two
cardiologists on the panel, even though
they recommended strong changes in the
language of the package insert and the
label of the drug.

Q. Your colleague, Dr. Nissen,
was sifting through the presentation that
Miss Targum gave, correct, sir?

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Page 347.

A. The brief presentation.
Approximately three minutes as he relayed
to me.

Q. If Dr. Nissen wanted to hear
more from Shari Targum of the FDA, he
would have said to Ms. Targum, can you
tell me more, correct, sir?

A. He didn't know there was
anything there to add. Only later, after
the review of the data and the review of
her report on the website would it become
more evident that there were significant
concerns.

Q. The Targum report that you
keep referring to is a report that was
actually presented to the Advisory
Committee members, correct, sir?

A. She wrote it February 1st.

I don't know whether it was distributed
to the Advisory Committee before that
meeting. I don't know that. You'd have
to ask Dr. Nissen that.

Q. Shari Targum prepared a set
of materials for the benefit of the

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its a At

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“20

_that Dr. Nissen had actually made a

Pore

Q. Did Dr. Nissen give a slide
presentation during the February 2001
Advisory Committee meeting?

A. I'mnot aware of that.

Q. Tthought you said a minute
ago you reviewed the transcript?

A. Treviewed the transcripts
of the relevant sections. | did not go
through every slide presentation, and
it's been quite a while. I mean, it's
been probably at least a year or a year
and a half since I reviewed that, but I
don't recall seeing a presentation by Dr.
Nissen on VIGOR,

Q. Deo you remember, Dr. Topol,

th

te

fal:
|

presentation to the other members of the
Advisory Committee specifically
addressing VIGOR, addressing the CLASS
trial or the Celebrex trial and

addressing an analysis he did of four
different aspirin trials? Do you

remember that?

A. That -- now, okay, you're
talking about a whole different FDA
panel. This is not February of 2001.
Because the aspirin comparison was an
idea I had after he got back. So, you
have the wrong FDA panel.

Q. Dr. Topol, did Dr. Nissen
make a presentation at the Advisory
Committee meeting in February of 200]
where he discussed VIGOR, where he
discussed the CLASS trial, which was
Celebrex's outcome trial, and a trial
called the Primary Prevention Project?

MR. HAMELINE: So, can [

Just interject a comment here.

Dr. Nissen -- Dr. Topol has said

several times he was not atthe

8% {Pages 346 te 34

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ebredt. He AAD a4,

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GN! LER AgB ORS Pena daltiee,

/ Page 250! Pace 352
i meeting. He's -- : 1 potential cardiovascular risks?
2 MR. GOLDMAN: I'm asking if 2 MR. HAMELINE: Objection. I
3 he knows. | 3 don't think he's being asked.
4 MR. HAMELINE: He's reviewed 14 He's making a comment.
5 the website. Hf it's on the ' 5 BY MR. GOLDMAN:
6 website, why don't you show it to i 6 Q. Dr. Topol, does Dr.
7 him. You can ask him if he knows. : 7 Nissen --
B But t think he’s already testmiea — Peta tee anaes
9 that he doesn't. | 9 BY MR. GOLDMAN:
10 THE WITNESS: You just /2a Q. -- make the following
11 changed your question. ‘42. statement to the Advisory Committee?
12 BY MR. GOLDMAN: -12 "Briefly, I think what I would say in the
13 Q. Dr. Topol, are you aware one '123 label is that there was an excess of
14 way or the other whether Dr. Nissen made °14 cardiovascular events in comparison to
15 a presentation where he talked about '15 naproxen, that it remains uncertain
6 VIGOR, CLASS and a trial called the 116 whether this was due to beneficial
17 Primary Prevention Project? /17 cardioprotective effects of naproxen or
18 A. That is possible, but 4.18 prothrombotic effects of the agent, and
‘19 certainly not the four trials that you leave it at that, that basically we don't
20 just asked about previously. That's not know the reason"?
21° possibie. ted MR. KLINE: Objection.
2e-— TO. Letme show you, sir, an | 22 BY MR. GOLDMAN:
23 excerpt from the FDA Advisory Committee °23 Q. Do you see that, sir?
24 _meetng. . 24 MR. KLINE: Objection,
Page 351° Page 353
i MR. GOLDMAN: We'll mark 1 multipie reasons Ht fill in
2 this as the next exhibit, 30. 2 later.
3 --- 3 BY MR. GOLDMAN:
4 (Whereupon, Deposition 4 Q. Do you see that? |
5 Exhibit Topol-30, “Arthritis 7 A. Yeah, I see it, and 1
6 Advisory Committee NDA # . 6 understand that completely. As of
7 21-042/S007, Vioxx (Refecoxib, 7 February 8, 2001, which f believe was the
8 Merek) " 2-8-01, 1-3; 210, was . § date of this -- and [| also understand
9 marked for identification.) _ 9 that the consensus of the panel was hike
10 --- - 10 this, that there needed to be achange n
11 BY MR. GOLDMAN: 24. the label about the cardiovascular risk.
12 Q. Dr. Topol, do you see on 12. So, this is consistent with that.
13 page 210 of the transcript that Dr. 13 Q. Did you agree with Dr. Topol
14 Nissen is making comments during the 14 in February -- I'm sorry, withdrawn.
15 Advisory Committee meeting on February 15 Did you agree with Dr.
46 8th? 16 Nissen in February of 2001 that it
i7 A. Yes. I'm familiar with this 17 remains uncertain whether the excess of
18 comment. I reviewed this -- I remember .18 cardiovascular events compared to
19 this -- I mean, it's just the one comment 19 naproxen was due to the beneficial
20 on this one page, 210, but I do remember 20 cardiaprotective effects of naproxen or
L21 it, yes. 21 prothrombotic effects of Vioxx?
22 Q. Do'you see that Dr. Nissen 22 MIR. KLINE: Same objection.
23 was being asked about the label for Vioxx 23 THE WITNESS: We expressed
4 and what it should say about any 24 the same question in our JAMA
82 (Pages 280 to 382)
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A. I've answered that several
times earlier today, that i's in the
manuscript. We didn't know for sure at
that point, and that is pointed out in
our JAMA paper on several, at least two,
if not three times in that manuscript.

Q. Is the answer to my question

1 paper that came out later in the
2 year, and the point being is that
3 we, after much more careful review
4 of the data, it was not at all |
5 apparent that this could be
6 attributed to naproxen benefit.
7 At the time in February 8th of
8 2001 belore We had a chalice to
g rake over the data, there was less
19 certainty. It was more ambiguous.
11 Over time, as we had a chance to
12 review things, and certainly as
13 more studies came out beyond ours,
14 it became increasingly clear. And
15 that's why in the JAMA paper Dr.
16 Nissen and I and Dr. Mukherjee
17? concluded about the cautionary use
18 of this drug.
19 BY MR. GOLDMAN:
20 Q. Dr. Topol, I didn't ask you
21 anything about your opinion.
22 MR. KLINE: Objection.
23 BY MR. GOLDMAN:
24 Q. _My question is whether --
1 MR. KLINE: Move to strike.
2 BY MR. GOLDMAN:
3 Q.  -- in February of 2001 you
4 agreed with Dr. Nissen that it was
5 uncertain whether the difference in heart
& attacks that was seen between Vioxx and
7 naproxen was due to Vioxx, was due to
8 naproxen or chance?
g A. I did not see Dr. Nissen on
1G Pebruary 8th, 2001. I saw him on
11 February 9th, 2001 when we both were back
12 in Cleveland, I was in Georgia, he was at
13 the FDA. And he came to me and said I'm
14 quite concemed. So, his concem wasn't
15 reflected by this staternent.
16 @. Till ask one more time, sir.
L7 MR. KLINE: Objection.
1@ BY MR. GOLDMAN:
19 Q. Did you agree in February of
29 2001] with Dr. Nissen that it was
21 uncertain whether the difference in
22 cardiovascular events seen between Vioxx
23 and naproxen was due to Vioxx, was due to
5

naproxen or chance?

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about 090, Dr.

TES, PCT

MR. KLINE: Objection.

THE WITNESS: With the one
trial of VIGOR and the very
staunch defense of this naproxen
hypothesis offered by Merck
without independent replication,
without any other studies, one
could not make definitive -- and
we said that in the FAMA paper,
not make definitive conclusions.
That's true.

Q. “You said on direct
examination, Dr. Topol, that a black box
waning could easily have been imposed by

February of 2001. Do youremember

testifying to that?

A. Yes.

Q. Did anybody at the Advisory
Committee meeting suggest that a black
box waming be put on the Vioxx label?

A. No. And that's because the
correct data for study 090 were not

A. Good. I'll be happy to.
Look forward to it.

Q. Dr. Topol, my question is
whether anybody at the Advisory Committee
meeting in February of 2001, including
your colleague, Dr. Nissen, suggested
that a black box warning be added to the
Vioxx label?

A. I don't know the answer to
that. I don't recall the transcript
enough to be able to say whether anyone
registered that concer. I know there
are only two cardiologists there, so,
that's one issue. But I don't know.

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12 answer Dr. Nissen is not saying anything
13 about a black box warning on Vioxx? :
14 A. I certainly don't see that 14 the clinical trials that were done on

15 in that excerpt, no /18 Vioxx did nat involve patients who either

Fage 358 6a

1 Q. Do you see in the excerpt 0 you agree, Dr. Topol,

2 that I provided te you that Dr. Nissen : 2 that your suggested approach, the

3 doesn't say anything about a black box | 3 cardiovascular outcomes study, was not

4 waming? Correct, sir? | 4 the only way to address the question of

5 A. You provided one page of a | 5 whether there was a potential

6 1,000 page transcript. That's not -- I ' 6 cardiovascular risk associated with COX-2

7 mean, that’s not a full disclosure here. | 7 inhibitors?

BALD MOU Vel PRCT eters Tr eT a errs is rhe ere eee cin on

9 Say. | 9 that the only way to get the answer |
10 Q. Based on the excerpt that I |10 definitively in patients who have heart
11 did provide you, do you see that in that : 1% disease is to do a trial in patients with

.aq

and Dr. Bhatt is the one who picked up
the ball and proposed this to Merck. And

16 had heart disease or were at risk of
proposed cardiovascular outcome study; '17 heart disease. Was that your testimony?
correct? “18 A. No. My testimony was with

A. ITdiscussed that we were ‘19 heart disease.
invited by Dr. Reicin -- 720 Q. Dr. Topol, you do know that
Q. No, 21 inthe clinical trials for Vioxx, there
A. That's what you're talking /22 were people who actually were at risk of
about. /23 heart disease?
_ Q. That's not what I was (24 MR. HAMELINE: Objection.
Page 353. Page 361
talking about. 1 Are vou talking about all the
On direct examination, Dr. 2 clinical trials?
Topol, you were asked a bunch of 3 THE WITNESS: "At risk" is
questions about your cardiovascular 4 not the same as having heart
outcomes study; correct? 5 disease. The number of patients
A. Taddressed that earlier 6 with actual bona fide documented
7 heart disease is vanishingly
3 5 smnail, almost nonexistent in these
% cardiovascular outcomes study to both 9 trials. They were almost
10 Merck and Pfizer; true? systematically excluded. There's
1i A. I did not propose any a different matter about whether
iz cardiovascular outcome trial to Pfizer,

someone has risk for heart
disease, a number of risk factors,
but I'm talking about documented

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15 [knew about it. [ told them about it, coronary artery disease.

16 but { wasn't the one that made any BY MR. GOLDMAN:

17 prapesal to either company. Q. Dr. Topol, you do know that

13 Q. Do you think, Dr. Topol, there were patients who participated m

19 back at the time that you were suggesting Vioxx's clinical trials who did have

20 that both Merck conduct a cardiovascular documented cardiovascular disease; night?
21 outcome trial and Pfizer conduct one? 21 A. As TJ just said, the numbers

22 A. Tthought that would be 22 of those patients are vanishingly small,

23 appropriate given the uncertainty about 23 perhaps as low as one percent and in some
é4 this heart attack tisk, yes. 24 trials, zero.

3,24

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Q. Do you believe, Dr. Topol,
that your proposed study, your proposed
cardiovascular outcomes study was the
only way to -- withdrawn.

De you believe, Dr. Topol,
that your proposed cardiovascular
outcomes study was the only reasonable

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given you a fulsome, complete
response.
THE WITNESS: Can you read
back my answer, please.
BY MR. GOLDMAN:
Q. I'm not interested m your
answer. I'm asking you a separate

associated with Vioxx and Celebrex |
concerning cardiovascular disease?

A. First of all, L would go
back to our JAMA paper.

Q. mnot asking about the
JAMA paper. I'm asking you --

A. But you're asking about the
cardiovascular trial.

Q. Dr. Topol, I'm asking you,
as you sit here today, do you believe
that your proposed cardiovascular outcome
trial was the cnly way to assess the
potential for cardiovascular risk in
patients who took Vioxx and Celebrex?

A. lTanswered your question
earlier, In patients -- if we wanted to

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Pages 3653

know about patients with coronary artery
disease, and as I reviewed this morning,
40 to 50 percent of the patients, of the
20 million taking Vioxx or by various
registries and surveys, had established
coronary artery disease, the only way to
find out about those patients and their
quantifiable risk is in a study, a trial
dedicated to only enter patients with
established coronary artery disease, and
there's no other way to do that, no.
That's the only way to do such a trial.

Q. Do you agree, Dr. Topol,
that all clinical trials must offer
potential benefits to patients?

A. One can never do a trial
with just testing the side effects
without at least a putative equal or
better benefit.

@. ts the answer to my question
yes, all clinical trials must offer
potential benefit to patients?

MR. HAMELINE: [ think he
just answered your guestion. He's

womb same ih Br

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fee jet po
mould Woh be

17

A. [want to see if i answered
the question adequately because you
challenged that I didn't.

@. Dr. Topol, can you answer
this question yes or no?

Do ail clinical trials have
to have some potential benefit offered to
patients?

A. All clinical trials should
have a therapeutic potential, yes, a
benefit, yes.

Q. You can't give patients
medicine in a clinical trial just to see
if they get sick; right?

MR, HAMELINE: Can i just
read what's in the order for the

MDL, which is that “Once the
witness las fully answered a
question, that sarne or
substantially the same question
should not be asked agam.” I
think this has been violated for
the fourth -- ] know you want to
get at concrete issues here, but |
do think that he’s answering and
answered that question fully the
first time.

BY MR. GOLDMAN:
Q. Dr. Topol --

MR. KLINE: Can we adopt Mr.
Goldman's rule for the Merck
witnesses as his approach to --

MR. GOLDMAN: I'd really not
have a speech on the record, Mr.
Kline. If you have an objection,
please state it.

MR. KLINE: We would be
really advanced in this
htigation,

BY MR. GOLDMAN:

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Page 366 Pace 362
1 Q. Dr. Topol -- / 1 2001 -- is it Dr. Bhatt?
2 A. Yes. : 2 A. Dr. Bhatt, Deepak Bhatt.
3 Q. -- you can't give patients 3 Q. Dr. Bhatt is sending an
4 medicine just to see if they have a heart . 4 e-mail to Dr. Reicin and says, “Hello.
5 attack or die, correct, sir? ' 5 As Dr. Topo! promised, here is our
6 A. IT would never be mvolved in : € protocol regarding the use of Vioxx in
7 aclinical trial or advocate doing a ' 7 acute coronary syndromes." Do you see
So Wiat witte ticle was jist teste 4 =i
3 harm. You have to have -- you don't put / 9 A. Isee that, and [ already
10 patients -- experiment on patients unless 110 discussed that this morning. And what I
11 you're looking at benefit and also, of |i1 said, if ] can go back --
12 course, always assaying the risk as well. 112 Q. My question was just, do you
1 Q. ‘You sent a copy of your . 13 see that?
14 proposed protocol to Merck in May of :14 A. Isee that, yes.
15 2001; correct? (15 Q. The protocol that Dr. Bhatt
16 A. That's incorrect. I did not -16 sent to Merck is Exhibit 32, isn’t it?
17 send anything to Merck. i417 A. That's what you just gave
18 Q. Did-- :18 me, yes.
19 A. Dr. Bhatt sent a proposal to /19 Q. Do you see on the second
20 Merck, and I was only relaying Merck's :20 page, top left corner, there's a date,
21 interest to Dr. Bhatt. 21 May 2nd, 20017 Do you see that, sir?
22 Q. Does Dr. Bhatt work at the ‘22 A. Yes. This was two weeks
23 Cleveland Clinic, sir? :23 after it was requested from Dr. Reicin
24 A. Yes, he does. He works in 24 _ when she visited Cleveland Clinic. |
Pace 367 Page 265
1 my department, but I did not send this 1 Q. [want to talk about the
2 protocol to Merck. _ 2 specifics of your proposed outcomes
4 --- : 3 study. Okay?
4 (Whereupon, Deposition 4 A. Dr. Bhatt authored this
5 Exhibit Topol-31, E-mails, : § study. You probably should talk to him.
6 MRK-AAZ0001594, was marked for 6 Q. This is a study, Dr. Topol,
7 identification.) 7 that you, on the first page, and Dr.
8 --- ' 8 Bhatt put together; is that right?
9 (Whereupon, Deposition : 9 A. Well, he put it together.
io Exhibit Topol-32, "Rofecoxib in ‘10 He put my name onit. And he sent if to
il the Prevention of Ischemic Events /12 Merck. But I did not go over the study.
12 in Patients with Acute Coronary -12 This was a request by Merck. I didn't
12 Syndromes and Elevated Markers of :13 have any particular interest in doing
14 inflammation," (Bhatt, et al) 14 this trial, and | asked Dr. Bhatt if he
15 MRK-ABAQ0003235 - MRK-ABA0003244;'15 was interested and he followed up on it.
16 was marked for identification.) 16 @. It's your testimony, Dr.
17 ~~ + “17 Topol, that you were not interested in
13° BY MR. GOLDMAN: i8 conducting the cardiovascular outcomes
19 QQ. I've marked as Exhibit 31 “1° study that you suggested be done?
20 and 32 two documents. The first is Bates 20 A. wasn't interested in doing
1 stamped -- this is 31, MRK-AAZ0001594. ‘21 the trial per se. I had been outspoken
22 Exhibit 32 is MRK-ABA0003235 to 3244. 22 about the need to do atrial. I didn't
23 Do you see, Dr. Topol, on 23 think it would be appropriate if T did
24 the first exhibit, Exhibit 31 on May 2nd, 24 the trial per se.

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Pace Page
1 Q. Well, you -- withdrawn. MR. GOLDMAN: We can go off
2 The protocol for your trial, 2 the video while Dr. Topol is doing
3 by “your,” I mean the Cleveland Clinic -- : 3 that.
4 A. Ruight. , 4 MR. HAMELINE: Again, I
5 Q.  -- includes Dr. Bhati's POS don't mean to take this out on
€ name and your name; correct? 6 your time, but if you want to ask
q A. He put my name on it, but 7 him questions about particular
Sette rest reer ee ert seiererycrlait i bebe bewila ical Se Oietole, ichinlelaahn
9 this, This is a protocol sketch, and I 9 long day for Dr. Topo!. And so
10 guess he was looking for feedback from 110 he's going to read through this
11 Merck. But I did not go over this in ;1l quickly and will try to answer
12 terms of, did I think this was the (12 your questions directly. So, I
13 appropriate design. This was a brief '13 don't think it's fair that we go
14 conversation I had with Dr. Bhatt, and I /414 off the record and not count time.
1S don't recall all the details. It's back -15 MR. GOLDMAN: We've gone off
16 four years ago in May 2001, but I did not 16 the record several times for the
17 author this protocol, and my name was i197 plaintiffs and not counted the
18 loosely attached to it. I was not 28 time --
12 interested in running a trial personally i 19 MR. KLINE: Not to review --
20 on this because I didn't feel that was /20 MR. GOLDMAN: -- so, I would
21 appropriate. F thought it should be 122 appreciate the same courtesy.
22 done, but I should not necessanly be /22 MR. KLINE: Not to review
23 involved with 1. :23 documents. Not to sit and review
22 __..Q. Dr. Topol, did the Cleveland = 24 documents. Fprovidedno
Page 371: Page 373
1 Clinic send a protocol to Merck outlining 1 documents where the witness was
2 what the Cleveland Clinic believed would 2 then asked off the record to sit
2 be an appropriate cardiovascular outcomes 3 and review them.
4 study for Vioxx? 4 MR. HAMELINE: I want to be
5 A. Dr. Bhatt did, yes. 5 fair to both sides. We're just
g Q. How many patients did you 6 irying to get through this. I
7 believe should participate in a 7 recognize this. You know, if Dr.
8 cardiovascular outcomes study? 7 8 Topol can review it quickly, let's
3 A. Do I believe or did Dr. 3 just move on.
10 Bhatt put in the protocol? [I'm not sure 16 (Witness reviewing
ii if] understand your question. 7121 document.)
12 Q. The question was, do you “12 BY MR. GOLDMAN:
i3 believe that -- withdrawn. “13 Q. Did you review now, Dr.
14 Dr. Topol, did the Cleveland ,14 Topol, the protocol that has your name on
15 Chnic, when it sent this protocol] to _15 tt and that was sent to Merck on May 2nd
16 Merck, believe that it was the 16 of 2001?
17 appropriate cardiovascular outccmes study 1? A. I've had a chance to breeze
i8 te conduct? 18 through this. I would hardly call this a
i3 A. I don't -- [ would have to 12 protocol. This is a concept sheet.
20 read the protocol now if you'd Jixe me 20 There's nothmg about sample size.
21 to, 21 There's nothing about event rates. This
22 Q. Sure. 22 is as minimal as one could ever imagine.
23 A. (Witness reviewing 23 {would not call this a protocol. This
24 document.) 24 isaconcept. There's not even the most

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Page 374_ Page 276
i important salient features of a true 1 note a continuing objection that
2 clmical trial in this document. 2 this is not the Cleveland Clinic's
3 Q. Do you agree with the 3 concept, it's Dr. Bhait's, and I
4 concept that's being expressed in Exhibit 4 think we've made that abundantly
5 32 which has your name on it? 5 clear.
6 A. The concept of studying é BY MR. GOLDMAN:
7 Vioxx m patients with acute coronary 7 Q. Dr. Topol, the concept that
S ST TCTs reer teresa eat erie . Seppe me perineal biel eed een LLL it
3 protein is a concept that I discussed . 9 describes these criteria for inclusion,
10 with Dr. Reicin and Dr. Demopoulos when ‘10 and as you described acute coronary
12 they visited Cleveland just two weeks ‘11 syndrome, the concept was that patients
12 prior fo this point on April 14, I :12 who either were threatened with a heart
13 believe, of the same year. : 13. attack or who had a heart attack would
14 MR. GOLDMAN: Objection, 14 participate in the study. Is that right?
15 move to strike, nonresponsive. ,15 A. That's correct. But you're
16 BY MR. GOLDMAN: “16 leaving out one important element. And
Q. . Dr. Topol, if you'd turn to :17 asin the title of this concept sheet,
Page 6 of the concept that Cleveland -18 "Elevated Markers of Inflammation," and
Clinic sent to Merck, do you see on the .19 in the inclusion criteria on Page 6 that
top, the criteria for inclusion in this ‘20 we are now reviewing, you see Item Number
proposed study was that participants be ‘21 3, it says, “AND ftem Number 3, elevated
male or female, 18 years or older? Do 22 high-sensitivity C-reactive protein”
you see that? 23 known as CRP “greater than .2." So, they
wf Uh-huh, 24 had te have arterial inflammation, and _
Page 375_ Page 377
1 Q. And then point 2, "Being 1 that was the whole point of the concept,
2 admitted for acute coronary syndrome. 2 was that rofecoxib, as well as celecoxib,
3 The patient was admitted to an inpatient 3 have been shown to reduce inflammation.
4 facility with an acute coronary syndrome 4 So, in fact, it could be a benefit to
5 defined as: Ischemic discomfort at rest 5 these patients to suppress subsequent
é lasting at least five minutes." Do you 6 heart attacks.
7 see that, sir? 7 @. Iweant to talk about that in
A. Yes, 8 one minute, Dr. Topol.
$ Q. Can you briefly, sir, 9 Do you see, sir, that the
10 describe what acute coronary syndrome is? 10 concept that you were proposing to Merck
il A. It's either a threatened or “12 calls for the study to last a minimum of
i2 actual heart attack, that is, 12 one year?
i3 inflammation in the arteries that are 13 A. Where is that?
i4 leading to a crack in the artery wall (14 Q. If you look on Page 5 under
+5 with a blood clot potentially, and these “15. study design, it says. "This study is a
L€ are patients who could have a small ora 16 multicenter double blind randomized" and
1? threatened heart attack. 17 it continues “comparing the effects of”
18 Q. So, the concept that “18 Vioxx "versus placebo administered in
19 Cleveland Clinic was proposing to Merck “1S conjunction with standard therapy
2C involved taking patients who were 20 (including aspirin...) for a minimum of
21 threatened with a heart attack or who had 21 one year to patients who have suffered an
22 a heart attack to participate in this 22 episode of an acute coronary syndrome,”
23 study; correct? 42 and it goes on.
24 MR. HAMELINE: Could [just 24 A. Again. this is a concept

S5 (Pages 374 to 277)

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rage 380

Page 3278.
1 sheet. This is not a protocel, This : 1 about this since he wrote it, but my
2 does not have anything about events rates ' 2 interpretation is if they didn't have any
3 that are anticipated. It doesn't have | 3 other relief of their problem without a
4 anything about sample size. It doesn't | 4 COX-2 inhibitor, that they couldn't be -
5 have the number of triggered events to | 5 that is, they would have to be willing to
6 stop atrial. One year is just a very : 6 berandomized. So, yes, if they had to
7 loose term, that it has to have some ' 7 take a COX-2 inhibitor for some reason,
OTIS ter Tey totter Son bscettt tre Sematlrernaaiiett diode eamanbidate
9 again, it reinforces how sketchy -- this | 9 candidate for the trial, the way he's
10 could not be called a protocol. This is /10 written this up.
il avery early rudimentary design concept /11 Q. So, anybody who needed a
12. sheet. /12 COX-2 inhibitor like Vioxx could not
13 Q. The concept that you were : 13 participate in this concept study that
14 proposing to Merck, you and Dr. Bhatt -- .i4 Dr. Bhatt proposed to Merck; correct?
1s MR. HAMELINE: Again, LS MR. KLINE: Objection.
1é objection. It's Dr. Bhaitt's 16 Repetitive and misstates and
1? concept sheet. :17 mischaracterizes.
18 BY MR. GOLDMAN: ae MR. HAMELINE: Again, this
1s Q. Dr. Topol, the concept sheet “1g is the same statement that I just
20 that has your name on it and Dr. Bhatt's : 20 read in the MDL which is “Once the
21 name on it calls for a study that would “24 witness has fully answered a
22 last a minimum of one year; correct? 22 question, that same or
23 A. Very loosely defined, yes. /23 substantially same question --
4 Q. The concept sheet that has _ _ 24 MR. GOLDMAN: He's not _
Pace 47% Page
+ your name on it and Dr. Bhartt's name on 1 answering the question --
2 italso calls for patients te be followed 2 MR. HAMELINE: -- shal! not
2 up for a minimum of one year. Do you see 3 be asked again." That is exactly
4 that, sir? 4 the same question.
5 A. That's what it says. 5 MR. GOLDMAN: He's not
6 Q. The concept sheet also 6 answering --
7? veters on Page 7, sir, to certain 7 THE WITNESS: If this was a
8 critena for exclusion. Do you see that? 8 real protocol, you would define
9 A. Yes, 3 what is aneed for a COX-2
19 Q. This is another way of “10 inhibitor particularly since the
il saying these are the type of patients who LL whole issue about this was we
i2 will not be ailowed to participate in the -12 don't know if it's safe and we
13 study according to this concept sheet: 13 don't know if it's beneficial.
14 correct? iy4 That's why this is so rudimentary.
15 A. That's correct. 25 It doesn’t define these things
16 Q. If you look at Number 4, do is adequately. Any need for a COX-2
17 you see that the concept that Dr. Bhatt “17 inhibitor has to have objective
i8 was proposing to Merck says that, under 18 criteria laid out, and they're not
13 4, "Any need for COX-2 inhibitors.” So, “19 there.
20 if patient wanted to participate in 22 BY MR. GOLDMAN:
21 this study, they couldn't do so if they 21 Q. Does the rudimentary concept
22 actualiy needed COX-2 inhibitors; is that 22 that Dr. Bhatt sent to Merck say that
23 right? 23 patients who need COX-2 inhibitors would
24 A. You'll have to ask Dr. Bhatt Z4 need to be excluded from the preposed

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Page 242. Page 284
1 study? A. Right. So, there have been
2 A. It says that in the very, several studies now with the different
3 what I would consider, loose language COX-2 inhibitors in patients to look at
4 without adequate definition. Because whether C-reactive protein is reduced,
5 it's acircular reasoning in a sense. whether endothelial function, which is
6 That is, the trial is trying to the lining of the artery cells, that
7 understand this safety and need, and then whether or not that critical layer of the

a - ees 1
a YURI Peete TL Go) Aare

3 criteria. It wouldn't be suitable unless
10 it was much more rigidly defined.

Shien ial nelionteciemadeibethe: |

the inflammation is reduced. And indeed
these mechanistic studies have supported

11 Q. On the first page of this the concept that there could be an
i2 concept, Dr. Topol -- improvement in this process by
13 A. It only has seven pages. suppressing inflammation with COX-2

14 The rest is references, So, it isn't
15 particularly -- there's not a whole lot
6 here.

inhibitors.
Q. So, the theory that you had,
Dr. Topol, when you were suggesting a

PRP Beep
A WU bw hp ow B® wm ow w foe

17 Q. On Page 2 of this 17 cardiovascular outcomes study was that if

18 rudimentary concept, do you see the first /18 Vioxx was given to patients, it might

12 sentence under the introduction /19 actually help their heart?

20 “Inflammatory cells play a significant 120 A. It could, and that's put in

41 role in atherosclerosis"? 21 the JAMA paper. In all the papers -- I

22 A. [agree with that. I see _22 can go through my publications, but that

23° it, and I agree with it. “23 concept ts laced throughout, that there's
24 In the next paragraph, the 4 a possible -- there's a putative benefit

Page 3330 Page 225

concept sheet says, “Aspirin, by virtue
ofits preferential COX-1 inhibitory
effect, provides minimal
anti-inflammatory action.” Do you see
that?

A. [see that.

Q. And then further down in
that second paragraph -- in that second
paragraph, the concept sheet says, "The

1 here that can't be summarily dismissed
2
3
4
5
6
7
B
9
16 administration of" Vioxx "may provide a
11
12
13
14
15

whatsoever.

Q. In May of 2001 you believed
that Vioxx could actually help preveni
heart attacks: correct?

A. I felt that that was an
important mechanism, inflammation of the
artery wall, and this is a potent class
of anti-inflammatories, and certainly

Mm UO dw Wo AP BE oo WO 08 AU oy UT om Wo bo fo

10 there was that possibility. And other
direct approach to reduce coronary -1i studies suggested that potential.
inflammation resulting in fewer 1 Q. You would never have
cardiovascular recurrent ischemic events 13 suggested a cardiovascular outcomes study
in patients presenting with acute _14 fer patients at high risk of
coronary syndromes," Do you see that? 15 cardiovascular disease if you thought

16 A. Yes. 16 that Vioxx would actually cause them
17? MR. KLINE: What page are 17 heart attacks or worse, cause them to
18 you on? '18 die, correct, sir?
i9 MR. GOLDMAN: 2. “19 A. You just asked about high
20 MR. KLINE: Thank you. 20 risk. J assume you're not talking about
21 BY MR. GOLDMAN: 21 patients with coronary artery disease
22 Q. Can you explain how it is 22 proven. Is that correct?

: 23 that Vioxx could actually prevent — 23 Q. Dr. Topol, the study that
24 recurrent ischemic events? 24 vou were suggesting in Mav af 200] to

aT itt — ~~ om rare:
7f (Paces 332 to 285)

ANP ARG Ada. ame mt ae

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Page 386!

Page 3
i Merck was suggested because you thought 1 COX-2 Inhibition Improves Endothelial
2 Vioxx might provide a benefit to patients ' 2 Function in Coronary Artery Disease."
3 atrisk of heart failure -- withdrawn, : 3 And it was published in Circulation in
4 Am I nght, Dr. Topol, that 4 2003. Do you see that, sir?
5 inthe concept sheet that Dr. Bhatt sent 5 A. Yes,
6 to Merck in May of 2001, anticipated that é Q. The author is Remy
7 Vioxx would actually prevent heart 7 Chenevard?
Sea C RS ee Tee Cats trot voi _ Cheneiard—Lilalias,
9 A. In patients who had active : 9 with this study. I've cited it many
10 inflammatory coronary disease, /10 times in my work.
11 Q. Did you agree with Dr. Bhatt il Q. Do you see in the conclusion
12 that in May of 2001, patients who had :12 of the abstract, Dr. Topol, that the
13 active inflammatory coronary disease /13 paper says, “This is the first study to
might be benefited by taking Vioxx /14 demonstrate that selective COX-2
because it could help their heart? | 15 inhibition improves endothelium-dependent
A. Jalready answered that :16 vasodilation and reduces low-grade
question affirmatively. '17 chronic inflammation and oxidative stress
Q. Other scientists shared that -28 in coronary artery disease." Do you see
view, Dr. Topol, that COX-2 inhibitors -19 that?
could be beneficial to patients who have 20 A. Yes, Ido.
cardiovascular disease; is that right? 21 Q. The next sentence I think is
MR. KLINE: Objection, . even clearer when it says, "Thus,

misstatement.

°23 selective COX-2 inhibition holds the
__.THE WITNESS: Talready 24

_.potential to beneficially impact outcome —

mentioned that there were several
studies published, and I've cited
them in my work, that that indeed
was a potential benefit of COX-2
inhibitors in patients with
arterial disease.
BY MR. GOLDMAN:
Q. And those were the patients
you were suggesting be studied: correct?
A. Patients with inflammatory
proven artery disease, yes.

in patients with cardiovascular disease
Do you see that?

A. Yes. And to put itm
context, this is a very smal] study of 26
total patients, and it's with celecoxib
versus placebo. But I believe that their
findings and the way they made their
conclusions based on that data is very
reasonable.

Q. Because you've actually
cited this article?

A. Yes, and others like it.
They're small studies, they're with both
of the coxibs, and there is evidence of
some salutary effect.

Q. From May of 2001 through the
time that Vioxx was withdrawn in
September of 2004, you continued to
suggest that Merck or Pfizer conduct a
cardiovascular outcomes study; right?

A. That's right.

Q. During that entire time
period --

MR. HAMELINE: Can vou allow

(Whereupon, Deposition
Exhibit Topol-33, "Selective
COX-2 Inhibition improves
Endothelial Function in Coronary
Artery Disease," (Chenevard, et
al) Circulation, January 28,

2003, 405-409, was marked for
identification. )

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mw OW mM amok whee WO AO oe bt

BY MR. GOLDMAN:
Q. I've handed you Exhibit 33.
which is an article titled "Selective

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28 (Pages 336 to 389!

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1 him to answer the question in the i A. A cardiovascular.
2 way that he feels is appropriate 2 Q, Am [right, Dr. Topel --
3 and complete? 3 MR. KLINE: Now, does he get
4 THE WITNESS: I would like i 4 a chance to finish the answer?
5 to make a comment. 15 You said you were going to ask one
é BY MR. GOLDMAN: ; 6 question and let him finish and
7 Q. Sure. 7 now you've asked two.
a Th DECI Se Tee a oO nreT : i Deeper barked til: ote DL Lat as
9 reasons besides just this to continue to / 9 him finish in a minute,
16 advance that notion. '10 BY MR. GOLDMAN:
11 Q. Dr. Topal ~ “al Q. Dr. Topol, am I right that
12 A. If you'd allow me to make °12 from May of 2001 through the time that
13 the comment, -13 Vioxx was withdrawn in September of 2004,
14 Q. Tallow you to make the 1:14 you were suggesting that either Merck or
i5 comment in one minute. [f you could just °15 Pfizer conduct a cardiovascular outcomes
16 answer my questions, and then you can ' 16 study: correct?
17 certainly comment. Okay? ‘17 A. Yes.
i8 A. Okay. '18 Q. During that entire time
ig Q. From May of 2001 through the -19 period, you believed that Vioxx or
20 time that Vioxx was withdrawn in -20 Celebrex might actually prevent heart
Zi September 2004, you continue to suggest "21 attacks or other cardiovascular events.
22 that Merck and/or Pfizer conduct your °22 Is that right?
23 cardiovascular outcomes study; correct? 23 A. That's one issuc that was
24 A. _Notours, buta. AndIdo _24 pertinent, yes. But there's another one _
Page 331 Page 392
1 have it in the public statements and - 1 [would like to get into if you give me
2 newspapers that it didn't matter who did 2. an opportunity.
3 the trial, it just should be done. It 3 Q. Why don't you go ahead and
4 wasn't our trial, And this is a concept 4 tell me what you want to tell me.
5 sheet. Irisn'tatrial. I would never 5 A. Well, this goes along with
6 try to pass this thing off that you've 6 an e-mail exchange with Alastair Wood
7 been reviewing as a trial. 7 that's in the documents that you have. |
8 MR. KLINE: You now told him 8 can retrieve it if you'd like.
g you were going to let him finish a Alastair Wood ts probably
10 the last concept. :19 one of the most highly regarded
1i MR. GOLDMAN: Let me finish 11 pharmacologists and physicians. He's at
12 -- 12 the Vanderbilt University, and he's
13 MR. KLINE: Are you going to 13 frequently chairing the FDA advisory
14 ask him a question and then let -14 panels. So one of the things that we
15 him finish? Now you're telling 15 exchanged our views on was the fact that
16 him he can't do it. 16 if you have half the people in the United
1? MR. GOLDMAN: Move to strike ‘17 States with established coronary disease
ig the last answer as nonresponsive. -18 taking rofecoxib or celecoxib, that means
193 MR. KLINE: You said you 19 that there's a lot of people out there
20 would give him a chance to finish. 20 that is a complete random exposure to a
21 BY MR. GOLDMAN: 21 drug, millions and millions of peaple
22 Q. Dr. Fopol, I'm not asking 22 taking a drug without knowledge of
23 whether it was your cardiovascular study 23 whether it's providing a harm, no less a
24 _orsome other person's. Okav? 24 benefit. So, the point being I'm trying
G9 (Pages 399 tc 293)
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to get to is this issue of equipoise.

That is, if you have a drug that's so
widely used in the population in half the
people, and we don't know -- that is, you
can justify a cardiovascular trial even
without the putative mechanism of
benefit, and ['d be happy to draw -- Dr.

Pow mT Oe OW BN oe

MR. KLINE: You are on the
record an hour and five minutes on
eross. I] haven't --

MR, GOLDMAN: Go ahead.

MR. KLINE: Now I'm asking
olf the video record.

What the witness is being

woo mM ul ob WwW he

Woou,

rine eh cleriaebbie ie EL

Q. Dr. Topol, I've let you 7 3 MR. GOLDMAN: [do not want
10 answer now for sometime. Are you -10 you talking in front of the
LL finished now? :11 witness.
12 A. Well, if I've gotten my '12 MR. KLINE: Then have him go
13 point across. 113 out of the room. I'm just going
14 Q. Okay. /14 to state an objection, which is, I
15 From May of 2001 through the, 15 object to the witness being shown
16 tune that Vioxx was withdrawn in i216 another expert's -- let me start
17 September of 2004, you believed that ifa a7 again.
18 cardiovascular outcomes study were done, Key He's not designated as an
19 it could show that Vioxx and Celebrex “f xpert, Merck has said he's not
2¢ actually helped protect the heart; , 20 an expert. And even if he were an
2i correct? Oo» 1 expert, under the federal rules he
22 A. That's one possibility, yes. "22 would not be allowed to be shown
23 Q. Do you know Dr. Lucchest? 23 one person's opinion testimony and
23 A Ves, Udolwas atthe 0 0 28 be asked tocommentonit, So,
rage 395 Pace 337

ba f+

University of Michigan previous to coming
to Cleveland Clinic, and he was on the

it's all objectionable. Having
said that, 11 may be withdrawn

2

3 faculty there. 3 after Dy, Topol looks at 1 and

4 Q. Are you aware that Dr. 4 answers,

> Lucchest has been retained as an expert 5 You can go back on the video

& witness for the plaintiffs in some of the 6 record,

7 Vioxx cases? 7 THE VIDEOTAPE TECHNICIAN:

8 A. I saw that in the newspaper. 8 Back on the record at 3:45, Tape

3 I've not spoken to him, but I saw that, 9g Number 5.
1G yes, 10 BY MR, GOLDMAN:
11 Q. TH mark as -- actually,. Li Q. This is an excerpt from
12 ['m not going to mark this as an exhibit, 12° testimony that Dr. Lucchesi gave ina
13 but I'm going to show you a portion of 13 trial in New Jersey. Directing your
14 Dr. Lucchesi's deposition testimony and i4 attention to Page 909, line 23, do you
15 ask you a question about it. Okay? 15 see that he's being asked questions about
16 MR. KLINE: Objection, off 16 your proposed study conceming acute
1? the recard. 17 coronary syndrome?
14 THE VIDEOTAPE TECHNICIAN: 13 MR. HAMELINE: Again, feel
1? Off the record at 3:44. 1s free to read as much as you need
20 MR. GOLDMAN: I -- “20 for context, and while you're
21 MR. KLINE: How long are we 21 doing that, let me just note that
Ze on the record on cross? 22 Dr. Topol, again, here is coming
23 THE VIDEOTAPE TECHNICIAN: 23 to this deposition as a very busy
24 An hour and five minutes. 24 academic, a8 a Very busy person in

190 {Pages 394 to B97}

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i the institution and with patients 1 and he hasn't worked on patients
2 that he has to treat. It's fine - Zz in probably the last 20 or 30
3 to ask him any opimions that he 3 years. He also doesn't know that
4 has about what he put in his i 4 the protocol that was never
5 record in his own documents, et - 5 written up that talks about a
“6 cetera. I think it's | 6 concept sheet, and it was about
7 inappropriate to ask him about 7 inflammatory arterial markers.
8 thiyd-party experts. 8 None of that is in that -- so,
9 BY MR. GOLDMAN: : 3 youte about -- you're askmg Dr.
A Q. Dr. Topol, do you see that /10 Lucchesi in this deposition about
11 =-- il things that are just completely
12 MR. KLINE: And I would also “12 foreign to him to make comment,
13 object. You are asking a witness -13 It’s quite remarkable, actually.
14 to comment on the comments that "14 BY MR. GOLDMAN:
15 somebody else made about what he 15 Q. Do you think that Dr.
16 did. -16 Lucchesi is not competent to be
17 BY MR. GOLDMAN: ‘17 testifying about cardiovascular disease
18 Q. Do you see that Dr. Lucchesi -18 associated with Vioxx, sir?
i2 in his testimony thought that the study /13 MR. KLINE: Objection.
20 that you were proposing for acute /20 MR. HAMELINE: Again, coming
21 coronary syndrome would be a bad idea? :21 very close to --
22 A. I see that, and I have a 22 MR. GOLDMAN: Withdrawn.
23 couple of comments I can offer here -- 23 i'll ask another question.
22 Q.__Do you see that -- (24 BY MR.GOLDMAN:

Page 233 Page

A. -- if you'll allow me to. Q. Are you familiar with the

Q. Do vou see that Dr. Lucchesi
actually compliments Merck on its
decision not to do the study you were
suggesting?

He iat fe

drug Reopro?
A. Yes, lam familiar with
Reapro, abciximab, ves.

l

4

2 5 Q. Did Dr. Lucchesi play a role

6 A. I saw that. Can i make my 6 with you in the development of Reopro?

7? further remark about that? 7 A. He did some experiments with

g Q. Actually, I'd rather you do 8 acolleague of mine, Dr. Bates, when I

9 that when Mr. Kline asks you questions. 9 was at University of Michigan in dogs.
1¢ MR. HAMELINE; Let me note 19 Most of his work has been experimental
1k very vehemently my objection to /11 models in dogs.
lz putting a document in front of Dr. 12 Q. Would you credit Dr.
13 Topol, showing it to him, reading 13 Luechesi with the development of Reopro?
i2 it to him about someone who is not 14 A. No. [would not credit him,
i5 present. Dr. Topol is not here as '15 He did some contributory work. No, there
L5 an expert. He's not trying to 16 were many people, and he was just one of
1? take sides in the litigation, and .17 the investigators that worked in this
ls you're showing this to him and not held. expenses
13 asking a question about it. +9 eaip oon, Dr *
20 That's just inappropriate, Topol, about your JAMA article that you
21 THE WITNESS: Well, it's published in August of 2001. Ckay.
22 also extraordinary that Dr. A. Sure.
23 Lucchesi is not a clinical 23 QQ. You said on direct
24 trialist. He's a pharmacologist, 24

examination that you sent the manuscrirt

= se aes a oan
+ §'faGes 455 13 201"

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Page 402!

or the draft of the JAMA article to Merck
to see where there were discrepancies in
the data between the published paper that
you were publishing and the FDA database.
Do you remember that?

A. That's correct. I sent the
paper to Dr.  Demopoules, and we already

Q. Aciually, isn't it true, Dr.
Topol, that you enjoyed meeting with Dr.
Reicin and Dr. Demopoulos?

A. Dr. Demopoulos and I are
colleagues, and we worked on a trial
together, and I had no problem with Dr.
Demecpoulos.

{ did have a problem with

paper V version, and then Dr. Reicin
requested an electronic version. We went

note, I think yo said that this
discrepancy is between the
published version, which is not
Dr. Topol's article, but the
published version and the FDA.
You're talking about three
different articles here.

THE WITNESS: The New
en glane Journal -

Metck employees i in 1 April of 2001;

correct?

A. That was a meeting I
referred to when they came to Cleveland.

Q. Is that the meeting where
you said Dr. Reicin came on quite strong,
and that you would consider her comments
to be brazen?

A. IT considered her remarks
about how we would be embarrassed if we
published it to be inappropriate, yes.

Q. Did Dr. Reicin or Dr.
Demopoulos ever exert any pressure or
influence on you during that meeting?

A. Weil, it's Dr. Demopoulos,
and as I conveyed -- | mean, we
summiarized this morning, but there were
some definite difficult issues that were
confronted, and there was no quid pro quo
in terms of intimidation. They didn't
say, 1f you don't pull this paper out and
not take it out of its submission phase,
such and such would happen. But it was
not what I would consider a pleasant

4. discussion.

boa Bo? fh) b+ BE

Wopc 2 oy in de Ww oh ope

bh
rib co

1?

MRO ko om

Ihe Bo
ba

Wns

Dr. Reicin, who I had not met before, who
used Dr, Demopoulos as an access point,
who came to visit, and as I said, tald me
that we would regret publishing the paper
because we did not have the data that
Merck had, that we didn't understand that
rheumatoid arthritis patients had more
heart attacks, and that we would -- we
were making a mistake. Those were
comments that I did not find enjoyable

_—_
front of you that the plaintiffs used?
MR. HAMELINE: We will.
BY MR. GOLDMAN:
_Q. Do you see Exhibit 5, sir?

A. Yes.

QQ. This is an exhibit that the
plaintiffs used and didn't ask you about
the e-mail dated April 20 of 2001 from
you to Dr. Reicin. Do you see that in
the middle of the page?

A. ¥es, Ido,

Q. Do you tell Dr. Reicin on
April 20: "I enjoyed the meeting with you
and Laura and will have my assistant,
Donna Bressan, forward you an electronic
copy of the JAMA paper.”

A. Yes. I certainly said that,
and i was trying to be pohttically
correct and smooth over the difficulties
we had during the meeting.

Q. Was it true what you wrote,
Dr. Topol, that you enjoyed the meeting
with Laura and Dr. Demopoulos?

MR. KLINE: Objection,
violation of Judge Failon's order.
THE WITNESS: To be exact, I

did not enjoy some of the

interactions, but tried to be

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VEC FTO ea nek SECTIONS
Violates court? order by peberrag te WET Aencle arate

[ASS death

ASTI Cle Adel pest ane: Mee GB ee
‘es heatyay videt POC,

a

Page “fe
correct about keeping things on an
upbeat -- when I wrote that, it
was definitely to convey a sense
of, let's not have any bad /

ked me what was going on that
i] 2001 when Dr. Reicin and Dr.

feelings, and I tried to convey an
upbeat sense. That's what that

~O UT oR Ww fo oe

obvious why She came to Cleveland. I
hever had met her betore. | had
forwarded the n\anuscript in advance, and
it was obvious what the purpose of that

Kline read to you a quote from a Wall ‘|
Street Journal article that came out when !

Bo MFO ~1 Ae Ww bo ob

you published your article in JAMA. Do 12 tmp was. And it's\pbvious that the
vou remember that, sir? L3 reporter, Thomas Burton, accurately
A. Yes, Ido, August 22nd. 14 reported what I told fim.
Q. And the quote that Mr. Kline i Q. It’s your tes\mony, sir,
read to you was the following: (16 that Merck actually prdgsured you or
"Merck sought to downplay '17 tried to influence you aBoul your JAMA
the cardiac issue.” :18 article? s
Do you remember that? 2g A.

A. Yes, That's what the

reporter wrote, Tom Burton and Gardiner
Harris. The reporters wrote "Merck
sought to downplay. "

‘23 be Sa eis if you mbhs hit. You
24° know, | can deal with ail of these

Kbne’s question that "I do believe . 2 things. I don'i\consider that -- the
| that’s true because" of the "ulterior 2 word you used Was what?
purpose of the visit." Do you remember 3 Q. Did either Dr. Reicin or Dr.
testifying to that on direct examination? 4 Demopoutos --
A. Let me be perfectly clear, 5 A. Demopdlos.
Mr. Goldman. It is unquestionable in my 6 Q. Yes. I'msorry.
mind that the reason why Dr, Reicin came 7 -- ever put any pressure or
to Cleveland was to dow nplay the cardiac 8 influence on you whég they met with you
risks of Vioxx and try to get this 9 in April of 2001?
manuscript to be toned down. There isn't '19 9 Rie ELAM
any question about that, sargesseten arrearage 7 t ie
eo AND Move tol stnke ‘ia back with, Is there sdyie
as nonresponsive. 213 different take that you'¥e given
14 BY MR. GOLDMAN: 14 here? He's already ansv\ered the
15 Q. Dr. Topol -- “15 |
16 MR. HAMELINE: He can move 16 :
1? to strike, It doesn't mean it's 17 -- pressure -- you know, it'an
18 going to be stricken ig ambiguous term, but it was very r
BY. MR- GOLTIMAN: 19 obvious why they met with me, and a
:20 they subsequently met with Dr, :
21 Nissen for the same purpose, which &;
22 is to reduce the claims that we "
23 had, the worries that we had 4 /
A. _ It was entirely accurate in 24 regarding the cardiac risk of | i

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Page 416 rage 412
t Vioxx. . 1 felt -- we had a relationship that
2 MR. GOLDMAN: I want to mark _ 2 extended over years doing clinical trials
3 the next exhibit, . 3 together, and I was trymg to be
4 77 : 4 appropriate and accurate. Yes, I believe
5 (Whereupon, Deposition _ 5 that I'm conveying what I felt at that
6 Exhibit Topol-34, E-mails, . 6 time.
7 MRK-ABA0011062, was marked for i 7 Q. If you skip down to the
8 identification.) , 8 sentence that starts, "Unfortunately, a
3 ~~ i 2 COmanthOr OF Me paper lad a dilterent
10 BY MR. GOLDMAN: -10 perspective and used names and painted a
11 Q. Dr. Topol, do you see that ' 11 very different picture. I pleaded with
12 Exhibit 34 is an e-mail on the top from /12 Burton, the reporter, that this wasn't
13 you to, is it Peter DiBattiste? :13 the case but you can see how much that
i4 A. Yes, Dr. DiBattiste. 14 influenced his story." Do you see that,
15 Q. Of Merck? “45. sir?
16 A. Yes. “16 A. Yes. Isee that. Talse
17 Q. And this is August 30 of - 17 remember having a phone discussion with
18 2001; right? (18 Dr. Demopoulos in advance of this, and I
19 A. Yes. So, it's after these /19 knew that both she and he were very
Q articles have come out, yes, the JAMA and 20 upset. [ also know that they were very
21 the Wall Street Journal, yes. “22 upset about the COX-2 inhibitor program
22 Q. So, you're writing to Merck -22 at Merck, as they conveyed to me, but,
23 after the Wall Street Joumal comes out, : 23 yes, I certainly see this.
24 the one that said that Merck tried to 24 MR. GOLDMAN: Move io sirike —
Page 111 Page 413
1 downplay the cardiac issue; correct? 1 as nonresponsive after yes.
2 A. That's right. I'm writing wn pad A De
3 to Peter DiBattiste. I'm not writing to ey La ao
4 Merck in general, yes. 4 thought that it would be great to get
5 Q. You wrote, sir, "I'd like to 5 Merck's input on the JAMA article:
6 talk to you about the COX-2 post-mortem - 6 correct?
7 to straighten out any issues. I hope you 7 A. I didn't think it would be
8 know that I never mentioned your name, - 8 great. I thought it would be -- because -
? Laura's or anyone else and never felt a 3 of being colleagues with Merck, because:
10 sense of pressure or influence.” Do you 19 of having a relationship with Drs.
12 see that, sir? _11 DiBattiste and Demopoulos in another
i A. Yes, Ido. (12 trial, I thought it was appropriate that
23 Q. Was that true? .13 we give them an opportunity to review the
id A. Well, as we just discussed, | anyecnptund.thed
15 there was no overt pressure and : a MRO RAMBEINE:
16 intimidation, but there certainly was an “46 done with Exhibit 34?
17 obvious motive of this trip to come to 17 MR. GOLDMAN: Yes.
13 Cleveland, yes, There's a difference 18 MR. HAMELINE: Can we go off
19 here, and it's a matter of semantics. 1? the record and take a short break.
2o Q. Is the statement that you 20 MR. GOLDMAN: After we
21 wrote to Dr. DiBattiste true? 22 finish this document, ves.
Z2 A. [think -- well, I wrote it 22 ~ >
22 to Peter, who I viewed as a colleague 23 (Whereupon, Deposition
24 like Laura Demopoulos, and I certainly 24 Exlubit Topol-35, E-mails,

104 {Pages 410 to 4123}

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Be PE Pe ee pe

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fe i BRIob+ co ko WM ~] awn

NDB BD BG

Page 414! Page 416
TOPiPROO0000282 - TOP1PROV000283 , 1 you wanted to incorporate them. Isn't
was marked for identification.) 2 that right, sir?
~~ 3 A. No. I didn't get any
BY MR. GOLDMAN: 4 comments. We never got any comments.
Q. Dr. Topol, I've handed you 5 MR. HAMELINE: So --
Exhibit 35, which ts a series of e-mails : 6 THE WITNESS: The
starting at the bottom. It's Laura 7 Manuscript --
Demopoulos is writing to you, Dr. Topol, - 8 MR. GOLDMAN: We can take a
on April 28, 2001. Do you see that, sitt 2 Break flow.
A. Yes, ,10 MR. HAMELINE: That's fine.
Q. She writes to you "Hi, just Pt THE VIDEOTAPE TECHNICIAN:
wanted to let you know that Pete and I" /12 Off the record at 4:02.
-- that's Pete DiBattiste -- "will be i13 ~--
working with Alise to try to incorporate 14 (Whereupon, a recess was
some of the data we discussed during our 215 taken from 4:02 p.m. until
visit into the JAMA manuscript." Do you °16 4:15 p.m.)
see that, sir? i17 ---
A. Yes. Esee it. I can read /18 THE VIDEOTAPE TECHNICIAN:
it very well, yes. 119 Back on the record at 4:15.
Q. You wrote back to Laura on -20 BY MR. GOLDMAN:
April 28 and you said, "Hi, Laura. That P21 Q. Dr. Topol, did Merck ever
will be great ta get your input." Do you '22 provide comments to you on your JAMA
see that, sir? |23 paper that you subsequently published in
—f:__Yes, Butdon'tcutoffthe 24 August of 2001?
Page 415° Paws 1°
selence, "we haven't heard from JAMA 1 A. T[tmnot aware of any
yet." That is, the paper was already 2 conuments,
under review at JAMA, Okay? So, the 3 Q. You actually said on direct
input was, and I told this to Laura on 4 examination that Merck “never sent...us
the phone, and it's not conveyed in the > any suggestions, changes of data. There
e-mail, the input was about data on the € was never anything sent back to me
manuscript and the discrepancies that 7 or..my colleagues. Was that your
we're concemed about. And [I want to be, 8 testimony?
again. perfectly clear. We never 9 A. Lreferred to the documents
received any manuscript recommendations, 10 that were presented to me this moming
data changes from Merck, from Dr. 11 when J] never saw those before. These
Deinopoulos, Dr. DiBattiste or Dr. Reicin. 12 revised manuscripis from internal --
Q. We'll talk about that issue 13 I've never seen those before.
in a minute, 14 Q. Did Merck send you any
A. Yes. _i5 revised comments about your manuscript?
Q. Dr. Topol, was it true what °16 A. I don't recali ever getting
you wrote to Laura Demopeoulos, that you i? any revised comments.
thought it would be great to get her 18 --
input on your manuscript? is (Whereupon, Deposition
A. I was the one who offered Zo Exhibit Topo!-36, E-mail 6-20-01,
the manuscript to get the input, of ai with attachment, “Risk of
course, 22 Cardiovascular Events Associated
Q. You actually found some of 22 with Selective COX-2 Inhibitors,”
Merck's comments to be insightful. and 24 (Mukherjee, et al} Draft

195 {Pages $14 to 417)

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Page 418 Page 420
1 Manuscript, TOPIPROO000285 - _ 1 any reason to dispute that you actually
2 TOPIPRO0000311, was marked for ' 2 received it,
3 identification.) ' 3 MR. HAMELINE: He's answered
4 - : 4 the question.
5 BY MR. GOLDMAN: 1S THE WITNESS: Maybe it was
6 Q. Let me hand you what I've | 6 sent, and I never got it. Maybe
7 marked as Exhibit 35. This is an e-mail 7 there was a problem. I don't
8 dated June 20 of 2001 from Pete 8 know. But J don't remember seeing
2 DiBattiste to you, and it altaches your ; 3 It previously.
1® manuscript for the JAMA paper, doesn't -10 BY MR. GOLDMAN:
11° it, sir? “14 Q. Dr. Topol, if you'd turn to
12 A. Yes. '12 the page that ends with a Bates Number at
13 Q. Do you see that Dr. : 13 the bottom TOPIPR and then several ZErOS,
14 DiBattiste is saying this to you in this '14 294?
15 e-mail, "Laura and I have had a chance to -15 A. 294. Yes.
1€ review the most recent version of the -16 Q. Do you see that?
17 COX-2 manuscript. Thanks for sharing it ‘17 A. Sure.
18 withus. We've made a few coniments, :18 Q. And here Merck is providing
13 embedded in the text." :123 some input, and you see what's underlined
20 Do you see that, sir? _20 there are their suggested comments. Do
21 A. Yes, -21 you see that?
22 Q. Then if you flip the pages, 2 A. Where it says "These
23 you can see that on occasion, Merck made 23 results"?
24 some suggestions to your paper, Do you | _ 24 Q. Yes. _
rage 413 Pegs 421
4 see that, sir? 1 A. Okay.
2 A. Yes. There's just Z Q. And in the section about
3 limited -- okay. I see them now, yes. 3 study 085 and 090, Merck says "These
4 Q. And F want to just point to . 4 results” that you describe, "while
> an example of the type of suggestion that . 5 important, are incomplete. Would you
6 Merck made to you. Do you see on page -- 6 consider" —-
7 that ends -- 7 MR. KLINE: Page?
8 MR. HAMELINE: Can you just 6 MR. GOLDMAN: Bates stamp
9 establish that he received this? 3 that ends 294,
i¢ BY MR. GOLDMAN: 10 BY MR. GOLDMAN:
il Q. The e-mail was written to “Ea Q. "Would you consider
12 you, wasn't it, Dr. Topol? 12 substituting the following section to
13 A. The e-mail's written to me, i3 provide more robust data?" Do you see
14 but I don't recall ever havi ing seen this 14 that, sir?
15 document or the e-mail. 15 A, Yes.
16 Q. Do you have any reason to (16 Q. That's a question that Merck
i7 dispute that you actually received an 17 is asking you about whether you think it
18 e-mail from Dr. DiBattiste on June 20 of 18 would be a good idea to include the
12 2001? 12 language that follows: correct?
29 A. Well, this looks unfamiliar 29 MR. HAMELINE: Again, note
21 tome. [ don't remember seeing it Zt my objection that he doesn't
22 before. So, it's certainly something 22 recall having seen this, so your
23 that I'm not familiar with. 23 statement 1s --
p24 Q. _My question was, do you have 24 MR. GOLDMAN: You have that
105 (Pages 415 to 4251

405 dG 2cd-ddta soof27d2-234egate dist

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f - 6/9 — SR NSE \ Yrole hes Chofss o@ QeA.
» 7 covudadisign eles YLo / &-/7 S “re RE: Evibtne prreR _
Way At

“Peat.

rege 424

1 objection, disease and then describes what the { b
2 MR. KLINE: Can [ have a relative risk for cardiovascular events *g » Lonstewr
3 continuing objection as well? was. Do you see that? Qk nee)
4 MR. GOLDMAN: Sure. A. Isee it.
S MR. HAMELINE: Your (5 Q. And do you see that when
6 statement -- your question is ~ + 6 comparing Viexx to nonnaproxen NSAIDs,
7 misleading then. 7 ibuprofen, diclofenac and nabumetone that
8 THE WITNESS: Well, I also | 8 the relative risk was .79. Do you see
9 want ta point out, we sent this “+ 90 That, sir?
10 paper -- I sent 1¢ to I_aura in :10 A. This is a summary of data
11 March, I believe, and submitted it '11 across many different trials and
12 to the JAMA, and this is the 20th 12 indications, and that's what the data
13 of June. So, this is months after '13 indicate that’s being supplied, you know,
14 I had sent it to them, but anyway, 14 in this paper that I don't recall ever
L 15 please. :15 having received or seen. Yes, I see it.
1s BY MR. GOLDMAN: ‘16 Q. Doe you see that there's no
17 Q. Does Merck write here "To ‘17 Statistically significant difference
18 further evaluate the relationship of” -18 between Vioxx and nonnaproxen NSAIDs when
19 Vioxx "to adverse cardiac events, a -19 you look at those 23 studies?
20 meta-analysis of all Phase If through V" :20 A. The 23 studies includes a
21 Vioxx "studies using either placebo or 21 statistically significant difference of
22 NSAID comparators was performed. This 22 169 percent increased tisk against
23 included over 28,000 patients in 23 “23 naproxen.
24 _ studies in osteoarthritis, rheumatoid 24 Q. Right
Page 223 Page 425

-Jom out eB Ww OAD oI-4

\o fn

DK RD bel bet foe fet pet fet fe fet et

wie Ge BR det > Lea et

re fd

arthritis, chromic low back pain, and
Alzheimer's disease. In the" Vioxx
"meta-analysis (which includes VIGOR),
the relative risk for a cardiovascular
event was 1.69...when comparing" Vioxx
"to naproxen." That's not statistically
significant; correct, sir?

A. That is statistically
significant. 1.69 --

Q. That's right. I'm sorry.

You're right.

A. By the way, this is the
Konstam paper. She's summarizing a paper
that subsequently came out in
Circulation. We didn't incorporate any
of these data in our paper.

Q. Let me withdraw the question
for a second.

Dr. Topol, do you see that
Merck is writing here at the bottom of
398 or 294 to 295 that there are studies
of over 28,000 patients in 23 studies in
osteoarthritis. rheumatoid arthritis,
chronic low back pain and Alzheimer's

he J Ro i Lom be
ib dw ADS ke oe ee Te Oe

MI BI BO BR RD oR oR ope

A. Which is exactly what we
were concemed about in this issue, yes.

Q. I'mnot talking about
naproxen.

A. Okay,

Q. I'masking you whether the
results that were being reported here of
the 23 studies including Alzheimer's
showed that there was no statistically
significant difference mm cardiovascular
events between Vioxx and NSAIDs other
than naproxen,

A. I recognize this passage
from the Konstam paper that's published
subsequently in Circulation after our
JAMA paper. It looks almost identical to
that.

Q. That's accurate, isn't it,
six?

A. {would not say the data are
accurate, but I recognize the passage,
and [ also recognize that these are the
things that Alise Reicin toid me dunng
that April 2001 visit that. for example,

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Page 426 rage 428
1 you don't know about the 28,000 patients D2 A. Interim results of trials
2 and Alzheimer's and all these other | 2 that one should not be doing interim
3 things. You don't have the data. So, 3 results for looking at something like
4 she did tell me about this stuff when she : 4 this and putting in a report? No.
> came to visit with Dr. Demopoulos. / 5 Q. Do you see that the .65 is
6 Q. Dr. Topol, do you have any : € not Statistically significant because
7? reason to dispute whether the results of | 7 when you look in the parenthesis, the
8 the 23 studies that are described here in 8__number | actually falls within the range
3” UA patients, in Theurmatord artnrite OAD and 1107
10 patients, in Alzheimer's patients showed 10 MR. KLINE: Page?
11 that there was no statistically / 12 THE WITNESS: From the
12 significant difference between Vioxx and 12 standpoint of confidence
13 NSAIDs other than naproxen? (13 intervals, that's not
14 A. Yes, I have -- [have :14 statistically significant. But
1 concems regarding how this analysis was 115 that doesn't mean that the data
16 done, and] can review that with the /16 are authentic or meaningful.
17 Konstam paper if you would like. /17 BY MR. GOLDMAN:
18 Q. Have you ever said, sir, ‘18 Q. Ifyou remember, Dr. Topol,
i3 that the comments -- withdrawn. ‘1s you actually felt that Merck's comments
20 All that Merck is doing (20 to you were insightful about the TAMA
21 here, by the way, is saying to you, would (21 paper?
22 you consider including this language; ;22 A. No. J didn't say that.
23° correct? : 23 Okay?
24 MRA TSMELINE: Again, 24. QL kmow that's not what you
Page 427 Page 423
1 objection, 1 said today. Let me show you an e-mail,
zZ THE WITNESS: Well, yes. I 2 Sir, that Ell mark as the next exhibit,
3 guess that's what they're saying * 3 Which is 36? Sorry, 37
4 in this, but we certainly didn't 4 --
5 melude, and I don't remember ever 5 (Whereupon, Deposition
€ seeing this. / 6 Exhibit Topol-37, E-mails,
7 BY MR. GOLDMAN: 7 TOPIPROOQ000279, was marked for
8 Q. The next comment that Merck 8B identification.)
9 makes here is "To further evaluate the ' 9 ---
10 risk of sustaining a cardiovascular event 10 BY MR. GOLDMAN:
it on" Vioxx "in an elderly patient “li Q. This is an e-mail from you
i2 population, an interim analysis was '12 back to Dr. DiBattiste, June 22nd of
13 performed of two ongoing large placebo 13 2001. Do you see that, sir? At the top?
14 controlled studies in elderly patients -14 A. Okay. Yes, I see that.
15 with Alzheimer's and mild cognitive “15 Q. Do you see that you wrote to
16 impairment. The relative risk of , -16 Dr. DiBattiste, "Thanks - your comments
17 sustaining a thrombotic event on" Vioxx _i? onthe paper came back after it was
138 "versus placebo was .65," and that's not “18 resubmitted and now we have final!
15 statistically significant; correct, sir? 13 acceptance and will try to weave some of
20 A. That is an unacceptable 20 the insightful points into the galleys."
21 analysis. 41 Do you see that, sir?
22 Q. Is that number, sir, 22 A. Yes. It's nice to have this
23 statistically significant? That's my 23 e-mail to help remember the interaction.
24 oniv question, 24 Yes. do remember this.

~ aeoem 498%
105 iPages 426 to 429)

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Page 430. Fage 432
1 Q@. So, you now remember getting 4 MR. KLINE: I think he still
2 comments and reviewing them, correct, 2 has an answer pending.
3 sir? - 3 BY MR. GOLDMAN:
4 A. No. [ll tell you what I : 4 Q. Dr. Topol, do you see on
5 remember exactly. The galleys -- the ° 5 june 22 --
6 paper had been accepted, the galleys had 1 6 MR. KLINE: lobject. He
7 already been sent back, and then after 7 was answering a question. You cut
8 ithe fact we got this -- you know, three i 8 him off. You didn't let him
3 months aiter submitting it to Merck, we 1g tmish, and now you are going to
19 got these comments. I had basically 10 ask a question again. I insist
11 disregarded them because the paper was 'i1 that the question be read back and
12 complete, so I really never went into it. : 12 he be allowed to fish the answer
13 Q. Did you say to Dr. /13 to the question.
14 DiBattiste on June 22nd, 2001 that you ‘14 BY MR. GOLDMAN:
15 would try to weave in some of the ‘15 Q. Pr. Topol, fm conducting
16 insightful points into the paper? _16 this deposition.
1? A. Just like when I said to ov MR. STEIN: You interrupted
18 Doctor -- :28 him.
1g Q. Can you answer that yes or “19 MR. KLINE: No, you're net.
20 no? 20 You're not conducting this
2i A. It's not as simple as that. :21 deposition with impunity. He was
22 Mr. Goldman -- /22 answering the question. He told
23 Q. Tasked you what the e-mail 23 you he was answering the question,
28 SAYS. _ . 24 and you cut him off, and you won't
Page 4310 Pege 453
i A. I'm sorry, Mr. Goldman, but 3 iet him answer. That's wrong.
2 things are not quite as simple as you're 2 BY MR. GOLDMAN:
3 trying to make them out to be. Just ltke 3 Q. Dr. Topol, I'm going to ask
2 with the communication to Dr. Reicin 4 you another question, and if you want to
> where [ said I enjoyed the meeting, when 5 explain, feel free.
6 it wasn't enjoyable throughout -- 6 MR. KLINE: Let him finish
? Q. I'm not asking you about 7 the other answer to the question
8 that, please, Dr. Topol. Can you please 8 that's pending.
2 focus on my question the way that you did 9g MR. STEIN: Read back the
10 for the plaintiffs’ lawyers? Can you 10 question --
ii just focus on my question? -11 MR. GOLDMAN: No.
Lz MR. HAMELINE: He answered (12 MR. STEIN: Read back the
13 questions -- 1 question and answer that was asked
14 MR. KLEINE: Let him finish, 14 when he was cut off in the middle.
15 and I object to the comment. 15 MR. GOLDMAN: You know what,
16 MR. HAMELINE: He answered 6 you're not participating tn this
17 questions to the plaintiffs' : 17 deposition.
18 lawyers by trying to give his 18 MR. STEIN: I am
19 understanding and comments and “19 participating im this deposition,
20 beliefs, and that's what he's 29 and you don't have a right to cut
21 trying to do here. 721 off a witness in the middle of a
22 BY MR. GOLDMAN: 22 statement.
23 Q. Dr. Topol, do you see that 23 MR. KLINE: Please read back
£4 on June 22 -- 24 the answer to the last question

109 {Pages 436 to 432:

405c92cd-4G s-4BOF-27 d2-234a3ai clot

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(? 7 objeds. Aske and arsistra , Arcot Seas Xr tlf

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(Pages 424 to
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Leia SO aN Lo JX ae
PEgé 434) Page
1 where the witness was. : 1 A. And Dr. Mukherjee and the
Zz MR. HAMELINE: Can we just ! 2 input of the reviewers and the editors.
3 move forward. We'll get all this i 3 Q. You both had reviewed, Dr.
4 on the record. i 4 Nissen and you, lots of data concerning
5 MR. KLINE: Would you tag ' 5 COX-2 inhibitors before writing this ~ Co diame
§ the question and answer, Linda? ' 6 paper, correct, sir? — ~ ”
7 MR. GOLDMAN: Fine. 7 s
8 BY MR. GOLDMAN: mk exe Siete ee
9 Q. Dr. Topol, did you write to reviewed and Dr. Nissen reviewed are the
20 Dr. DiBattiste on June 22nd of 2001 that '10 VIGOR study, the CLASS study, study 090,
11 you would try to weave some of the i 11 study 085, aspirin trials; correct?
12 imsightful points inte the galleys? i412 A. Yes.
13 A. Ina polite way after it was 13 Q. And very scientific
i4 already finished, that was a (14 literature, right, sir?
15 communication I apparently made to Dr. |
16 DiBattiste, who I regarded as a long-term peat ys Tere oH eat ie
{17 colleague, yes. when you wrote this paper, you found that
ee ee O TEE Ty 2F48 the difference in cardiovascular events
mark as Exhibit 38. 119 seen in VIGOR was unexpected?
--- /20 A. Well, I don't know if]
(Whereupon, Deposition '21 would qualify it like that. I would say
Exhibit Topol-38, "Risk af '22 that it was significantly different, and
Cardiovascular Events Associated 23 that we -- there was a biologic
with Selective COX-2 Inhibitors," 24 mechanism. So, 1 don't know that you
Page 435 rage
JAMA August 22/29, 2001 Val 286, 1 would want to say it was unexpected. We
No. 8, 954-958, MRK-ADJO035003 - 2 already knew that prostacyclin was
MRK-ADJ0035008, was marked for 3 suppressed, a critical constituent for
identification.) - 4 blood clots and normal artery function,
-- ~ § and so I don't know that you can say it
BY MR. GOLDMAN: - € was unexpected. It wasn't expected by
Q. This is your JAMA paper. 7 the trialist per se, but it wouldn't be
A. Uh-huh. : 8 at all biologically implausible.
ze. Q. That was published in August 6 sie
we. of 2001, isn't it, sir?
a A. Yes. “il A. Yes. ‘
Q. JAMAt1s a peer-reviewed /12 Q. Second column, last oF
publication, isn't it? .13 paragraph. Do you write in your paper
A. That's correct. '14 "Our analysis has several] significant To 4
Q. Itis atop journal? “15 limitations. The increase in come
A. One of the top jourmals. 16 cardiovascular events in these trials was Ae 315
Q. It's widely reviewed by 17 unexpected.” Is that what you wrote?
doctors? -i8 A. That's the statement I'm
A. That's correct. _19° trying to put in context.
Q. When you wrote this article 20 Q. You say --
in JAMA, it reflected your and Dr. 21 A. It says, “and evaluation of
Nissen's best medical judgment about the 22 these end poimts was not prespecified,"
potential cardiovascular risks associated 22 so that's part of -- it's interdependent.
wih COX-? inhibitors, correct. sir? 24 [fvou don't anticipate the endpaints and

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Page 438° Pag@ 440

of the issues are unexpected, it's
a matter of biologic expectation,
a matter of whether the trial is

1 wouldn't just dismiss what Merck put

2 forth. It's certainly a possibility.

3 And we acknowledge it. I mentioned at
4 east twice if not three times in the
5
6

paper. I put that in the deposition --
ier!

in the testimony

basis for the naproxen hypothesis. Was AE reas Tat you:

that your testimony? : 8 that naproxen and its cardioprotective
A. That on the course of how | 9 “elfects could xplaim tne results i

this played out from 2001 when that /10 VIGOR is that naproxen had significant

naproxen hypothesis was first touted by 11  anticlotting effects, doesn't it, sir?

Merck and put in the Targum report to the 12 A. That's what Merck was

present, over time it was very clear that '13 advancing, that notion, but whether or

that could not be tenable. 14 not that was clinically meaningful was
Q. You said on direct :15 not ever determined.

examination "The only appropriate :16 Q. If you lock two sentences

conclusion...would be that there's a :17 down, "Naproxen has significant

problem with the experimental drug °38 ant-platelet effects” which mean
i i? . . .19 platelet -- "with mean platelet
PERRET R a Ripe oor ee 'ZO aggregation inhibition of 93 percent
22 BY MR. GOLDMAN: /21 compared with platelet aggregation
22 Q. Is that your testimony? 22 inhibition of 92 percent for those taking
23 MR. KLINE: Objection. 23° aspirin.” Do you see that, sir?
2% ____Misstates, mischaracterizes. | 24 AL Yes, Wereferenced where
Page 4235 Fage 441
«3 1 that data came from.
Pa 2 Q. You referenced where that
3 to that? 3. datacame from. That was an FDA
4 A. |] remember testifying, and I 4 document, correct, sir?
remember the statement is very clear, 5 A. Right.
comparing a weil-accepted historical 6 Q. When you wrote this article
anchor, naproxen, versus an experimental 7 in JAMA, you believed that naproxen has
new drug and making the conclusion that 8 significant anti-platelet effects,
the only reasonable conclusion as a 9 correct, sir, or you wouldn't have put it

m. clinical trialist is to say the

R{ experimental arm has a problem.

Q. Well, tet's see what

me conclusion you reached when you wrote
}* this paper in August of 2001. If you'd

turn to Page 957, the first colurnn, last

paragraph, "The results of the VIGOR

study can be explained by either a

significant prothrombotic effect from”

Vioxx “or an antithrombotic effect from

| naproxen (or conceivably both)." Do you

B see that, sir?

B 6S). Not only do I see it, but I

85 acknowledged this several times earlier

p24 today, that that's a possibility. We

Hee

.
BWM RS

pat

Boo? Bo BG Bo et bet Re pet
Boe ie to 4) oy Ou

ws 4a

im the article?

A. No. Let me just put --
youre asking about context. Okay?

Q. No, I'm not.

A. Anti-platelet effects and
does that explain off the concerns of
Vioxx are different things.
Anti-platelet effects doesn't mean that
you can ascribe the problems of Vioxx to
nhaproxen's cardioprotective effect. And
that's why in the last sentence ef the
paper we urge caution in prescribing
these agents to patients at risk for
cardiovascular morbidity. [f we were so
confident about the platelet effect being

ab

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oN Re GE BR «PORE TRS CISA Gp ER. PAIRS NS Re

APTee [Avis Deed

po - Lo2zfrid VOR - dares st G2& Fed oAecte of Poss onal icnowle dye
- 802. paseemnstda Adricle, degen - if hearse 4 EAD (TR pd Ln
Page 442. Fege 444
1 clinically transferable, we wouldn't have 4 ---
2 come to that conclusion. : 2 (Whereupon, Deposition
3 Q. Do you see in the second 3 Exhibit Topo!-39, "A coxib a day
4 column of your article on Page 957 you 1 4 won't keep the doctor away,”
> also say that “naproxen, but not 15 (Topol, et al) The Lancet Vol 364
6 ibuprofen or diclofenac resulted in a & August 23, 2004, 639-640, was
7 high level of platelet aggregation i 7 marked for identification.)
8 inhibition similar to that achieved with 8
2 aspirin.” Do you see that, sir? i oe ; . - fs
10 A. Yes. bio Q. “Tih going to mark 39, which
il Q. Then you write about :11 is acomment that you wrote --
12  flurbiprofen, which is something that the /12 A. Right.
13 plaintiffs lawyer asked you about: right? (13 Q. -- inthe Lancet. Do you
14 A. Yes. : 14 see that, sir?
15 Q. You wrote in JAMA, "There js /15 A. Yes, Ido.
16 clinical evidence that flurbiprofen, 50 /16 Q. Directing your attention to
17 mulligrams twice daily for 6 months, '17 the first column, in the last sentence:
18 reduced the incidence of MI by 70 percent .18 "Tt has remained unclear whether this
13 compared with placebo." Isn't that what 19. striking increase in myocardial
20 you wrote, sir? :20 infarctions was related to" Vioxx
21 A. Yes. 21 “directly, or the comparator agent,
22 Q. Then you say "Indobufen, .22 naproxen, had significant anti-thrombotic
23 another NSAID, was as effective as '23 effects." Do you see that, sir?
.22 aspirin in preventing” and then vou = 24 A. Which paragraph are you on?
Fage 443 Frage 4
1 continue, correct, sir? 2 Q. The left colupn, fi first ae
2 A. Yes. 2 para cereph do “2 e
3 Q. Then you say, "Because of 3 Bp Z
4 the evidence for an anti-platelet effect 4 i.
S of naproxen, it is difficult to assess 5 payomarky :
6 whether the difference in cardiovascular é Haproxen. It has remained unclear
7 event rates in VIGOR was due to a benefit 7 whether this striking increase in
& from naproxen or fo a prothrombotic 8 myocardial infarctions was related to"
9 effect from" Vioxx. Do you see that? 2 Vioxx "directly, or the comparator agent,
10 A. As] said, this was ~10 naproxen, had significant anti-thrombotic
11 acknowledged at least two to three times 11 effects." Did you write that?
12 inthe manuscript, yes. “12 A. Absolutely.
i3 Q. In fact, sir, isn't it true, 13 Q. Do you see that you wrote
14 that as late as August of 2004, you ‘14 that on August 21st, 2004?
15 believed that it was uncertain as to 16 A. Yes. But] -- you haven't
16 whether the heart attacks in VIGOR were ‘16 given mea chance to put this in context.
17 caused by Vioxx or naproxen? “17 The point being is that the TARGET trial
18 A. [don't know how you could 18 is s the lar gest trial ever done with a
in. Soine-igythat ge nedits iwi: ee 19 | 2, isa lagl eessein age woe
Ef Want te show Var aa” aes eG h LSC are
"article that yoywere askeerae 21 asked if you ‘wrote it. ‘That's all 7
teday, and oN the K i 22. asked.
3 ; 23 MR. KLINE: You did not.
24 You absolutely did net. Let him
4

112 {Pages 442 to 445
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. -y to. . +; ,
a SAML ep bdeened ys Te Avoust Zooy PCAYS > y ed fori« | As on

fPfeviwys Page

a
“4
Page 446;

finish his answer, i

MR. HAMELINE: So, let him : 2

3

iL Oiray: "4

Just taken the snippets that you 5

like out of this editorial, but if 6

you read the editorial carefully 7

BY MR. GOLDMAN:
Q. Directing your attention
back to your JAMA article, sir:
MR KLINE: It was responsive.
THE WITNESS: Yes.
BY MR. GOLDMAN:
Q. I want to talk about Figure
3 for just a minute, Page 957, Figure 3.

and the TARGET paper which I was 8
asked by the Lancet to comment on, * : 3
which is the largest COX-2 10
inhibitor trial ever performed, 21a
and it compared uniqu /12
lumericoxib to naprox 13
dic “24
ther 5
effe 6
4 youre not -~ what you're :1?
1 Et18 discounting, and that's why “18
§4.19 said, how could you possibly -19
#120 to this conclusion, is because in 20
“21 the same editorial -- 2
eE22 BY MR. GOLDMAN: 2
‘Bt 23 Q. Well, you wrote it? .23
afi24 fi. 77 that I conclude that "The 24
sf Page 447
+ continued commercial availability of
2 rofecoxib, without a black-box w aming
3 for cardiovascular patients is indeed
_ 4 troubling." And that's because the
+5 TARGET trial was the most definitive
, 6 trial that's ever been performed in this
7 field to establish naproxen having a
8 muld, only mild, less than half the
9 benefit of aspirin. So, instead of a 25

percent reduction, we're talking about
maybe 10 or 12 percent reduction. So,
instead of the 500 percent protection
which would have been required for the
at& llaproxen hypothesis, this blew it apart.
L5 The TARGET trial and the commentary that
46 I wrote put this in perspective. It
completely took that premise about the
naproxen hypothesis and it blew. it Ups,
aKa 3 rte mae &

Heh ped

bo

strike.
21 THE WITNESS: It was no

22 longer tenable at that point.

23 MR. GOLDMAN: Move to strike
2E a3 nonresponsive,

rt
WMP OD TO wp oO OA me NP

hoRI RS Be BO oR RE be bt oP

ican

JAMA article’?
Yes.
Figure 3?
Do you see that?
Yes. I'm with you, yes.
Let me see if I understand
this and your analysis here.
What you did in your paper

was to take a placebo group and the rate,
annualized rate of MIs or heart attacks
in a placebo group, and you obtain those
numbers from four different aspirin
trials. Is that right?

A. No. Actually, the trials
were pulled together by a British heart

OPO ror

journal paper, and we took that, which is_

E

Cage

the largest data set we could find, to
have as an anchor or reference to the
COX-2 inhibitor trials, yes.

Q. Then you compared the
annualized rate of mvvocardial infarctions
in those four trials to the MI rate in
VIGOR and in CLASS, the Celebrex trial,
correct, sir?

A. Yes.

Q. And according to Figure 3,
this shows that Celebrex has a higher
annualized myocardial infarction rate
than VIGOR. Is that right, sir?

A. Thar’s right, but they're
very close. They're both .80, .74, yes.

Q. You agree, sir, that there
are significant flaws in the analysis
that you conducted here in your JAMA
article, don't you?

A. There are liniitations. I
think flaws is a little strong, but
absohitely we acknowledge thase
limitations.

©. One of the limitations in

da

Conch ene’

a,

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Page 450| rece 452
i your analysis is that the aspirin trials “1 well. Yes.
2 where you were looking at the MI rate in 2 Q. Does Dr. Temple write to
3 the placebo group did not have any : 3 JAMA on the first page, third paragraph,
4 patients who had rheumatoid arthritis: | 4 last sentence, "Indeed, merely examining
5 correct? ; & the AMI rates” that's annualized
6 A. Right. But the CLASS trial ' 6 myocardial infarction rates “in the
7 was osteoarthritis as well. And the | 7 control groups of the studies in the
2 _ingidence of myocardial infarction in 8 meta-analysis shows the invalidity of
9 rheumatoid arthritis is not well 9 this approach." Do you see that, sir?
10 characterized. 10 4. Which sentence are you?
11 Q. The FDA called your analysis :11 Q. Last sentence in the third
i2 invalid and plainly inappropriate, | 12 paragraph.
13 haven't they, sir? 113 A. Oh, yes, I see it, yes.
14 MR. KLINE: Objection. 14 Q. And then Dr. Temple shows
is THE WITNESS: That's a very !15 that in the aspirin studies that you
16 broad interpretation of a letter °16 looked at, there were varying MI rates;
1? that Bob Temple sent to me 17 correct?
18 personally. 18 A. Yes.
19 MR. GOLDMAN: Let me mark the :18 Q. And says that "The placebo
20 next exhibit, 39. '20 rates in the various studies vary by more
21 --- .21 thana factor of 3." Do you see that,
22 (Whereupon, Deposition (22) sir?
23 Exhibit Topol-39.A, Letter :23 A. Yes.
24 10-16-01, EJT 000323- BIT | 24 Q. On the next page, Dr. Temple _
Page 451° Face? 433
1 000324, was marked for i writes “These highly variable resulis
z idenufication. } 2 suggest that this 1s probably a poor case
3 - 3 for any meta analysis." And then he
4 THE WITNESS: Yes. 4 continues. Do you see that?
=2 BY MR. GOLDMAN: 5 A. Yes.
6 Q. This is the letter that the : 6 Q. "The weakness of this
7 Food & Drug Administration wrote to JAMA = 7 comparison goes well beyond beme
8 addressing your article, correct? The - 8 ‘problematic,' the authors' term; it is
? first sentence says, "The question, . 9 plainly inappropriate.” Do you see that,
19 addressed recently in JAMA.” :10° sir?
11 A. I would like to -- (41 A. Icertainly do, and I
lz MR. KLINE: Do [havea ‘12 responded to him. And I also gota
13 line, continuing line? ' 23 response from him. If you'd like to just
id MR. GOLDMAN: Yes, you do. _14 take this out of context. Are we going
15 THE WITNESS: This letter 15 to go further into this, or are we just _
ié was not published in JAMA. It was ‘16 = going to leave it at that?
17 forwarded to me from JAMA, and it 17 Q. Inthe JAMA article --
18 was from Dr, Temple. It was not “is A. Dr. Temple sent me a letter
is -- it's Dr. Temple writing this. “12 saying --
20 It is not the FDA. 20 MR. GOLDMAN: Can you please
zi BY MR. GOLDMAN: 21 instruct your witness to answer my
22 Q. Is Dr. Temple somebody who -22 question?
23 works for the FDA? 23 MR. KLEINE: He's answering
24 A. Yes. And I know him very 24 your question.

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- Nog - KREspons we Aas.

Page 454. Page 456
1 MR. GOLDMAN: I's not a 1 Q. It's called "Systematic
2 time to go on with a speech. If 4 adjudication of myocardial infarction
3 plaintiffs' lawyers want to ask - 3 endpoints in an international clinical
4 questions, that's fine. I'm . 4 tral.” Do you see that?
5 asking questions here, i 5 A. Yes.
6 MR. HAMELINE: He has / 6 Q. And you published it in
7 answered your questions. You're : 7 August of 2001; right?
8 asking him questions, He's here : 8 A. Yes.
9 as a third-party witness.  § Q. This ts about the
lo MR. GOLDMAN: Fine. “19 adjudication process or the evaluation by
il MR. HAMELINE: You're asking /11 an independent committee of adverse
L2 him what somebody eise sald, °12 events that are reported by investigators
13 wasting his time, unless you are 13> in clinical trials; correct? Yes?
14 going to ask him more detail about “14 A. Yes,
15 it in his personal testimony, If 15 Q. Do you see that in your
16 you want to just show this to “16 conclusion here, Dr. Topol? You say
17 somebody and authenticate it by 17 “End-point adjudication by a CEC" -- what
18 Dr. Temple, you can do that. If 28 is that?
18 you want to ask Dr. Topol what he (19 A. That's a clinical event
20 thinks about it or his concems or '20 committee.
21 his response, that's appropriate “22 Q.  -- "is important, to provide
22 deposition testimony. But for you €2 standardised, systematic, independent,
23 to cut him off without allowing -23 and unbiased assessment of end-points
}2¢ shim to testify about is the oo 24 particularly in trials that span
Page 455. Page 457
i inappropriate step here, just to i geographic regions and clinical practice
2 put if in total context. 2 settings.” Do you see that, sir?
3 MIR. STEIN: Sa, can he 3 A. Yes, Ido.
4 finish what he's trying to say? 4 Q. Do you agree that the
5 MR. GOLDMAN: No, he cannot. 2 process that is used to adjudicate or
6 --- 6 evaluate cardiovascular events is an
7 (Whereupon, Deposition 7 important one?
8 Exhibit Topoi-40, “Systematic 8 A. 1] agree with that
9 adjudication of myocardial 9 completely, and there's also other issues 3
id infarction end-points in an _10 regarding CEC SA See mi rm)
Li intemational clinical trial," dearer does Pencsnis
12 (Mahaffey, et al), Current fa QQ. The JAMA article that yo
13 Controlled Trials in 13 published prompted debate in the
14 Cardiovascular Medicine August ‘14 scientific community. Is that fair?
15 2001 Vol. 2 No. 4, (6 pages), was 15 A. [don't know about
16 marked for identification.) i6 scientific debate. There was debate in
17 ~-- 17 the media with Merck consultants. There CK.
18 BY MR. GOLDMAN: 18 wasn't much scientific debate that I'm ty
19 Q. I'm handing you an exhibit i9 aware of. I guess there was some, but (
20 that I marked as 40, and this is an 20 most of the studies, as we reviewed this
21 article, Dr. Topol, that I think your'e a 21 morming, came out, the case contro!
22 co-author of. Do you recognize this, 22 studies, six out of seven. came out with
23° sir? <3 a significant adverse profile of Vioxx in
és A. Yes. 24 these large epidemiologic studies.
ee
115 (Pages 434, tote /

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RG, QP Pts 5 order . POrPUGSs Fime pf

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do Agd sivdies

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ALONSAY uated FOR

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buck as Ten)

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Page 458. ge Ago a

1 MR. GOLDMAN: Move to strike / 1 Juni cumulative meta analysis in which on \

2 as nonresponsive, 2 all of those randomized trials, I believe

3. BY MR. GOLDMAN: , 3 there were something like 18 of them, it

4 Q. Did you issue a press | 4 was after VIGOR and 090 that had crossed

5 release after you published your JAMA | 5 the line statistically where the drug was

6 article? ; 6 proven to be hazardous for heart attack

7 A. You mean with the article? | 7 excess, and that's when Juni and his

2 OQ Ves |_8 colleagues concluded that the drug should

3 A. Possibly with the article. i 2 have been withdrawn. cape
10 Q. Did you hold a press WETS Ee cA
11 conference after you published the ; 11 as is nonrespansivt €.
12 article? |12 BY MR. GOLDMAN:
13 A. We did not hold any press {13 Q. Did you at any point --
14 conference. f14 MR. HAMELINE: He can move
15 Q. Was your article picked up 25 to strike anything that he wants

& by various newspapers including the Los 16 to. {t doesn't mean it's going to
17 Angeles Times, the New York Times, the ,17 be stricken. It's his comment.
i8 New York Daily News, Newsweek and others? |18 BY MR. GOLDMAN:
13 A. I don't remember all the ,19 Q. Did you at any point, Dr. i
20 places it was picked up, but jt was /20 Topol, write an article before Vioxx was As axpuce
2i- certamly covered. And I've already '21 withdrawn saying that it should be
22 mentioned the Wall Street Journal article °22 withdrawn? Heer
23 that came out that day. : 23 A. The article that I cited vant
a4 _Q. Did you appear on television _ 124 about the August 2004 black box warming _
Page 459 Faga Wonk caslet

2 on NBC Nightly News and the Today Show to - 1 was as far as 1 got in terms of the

2 talk about your JAMA article? 2 recommendation.

3 A. I certainly remember the 3 Q. You never recommended thai + 77 Co gat “A
4 Today Show, possibly the other one, but 1 4 Merck withdraw Vioxx at any point while das ign LOS
5 5 it was on the market, correct, sir? (Ge

Bae 6 A. I did not recommend its 460: (4
éXamination, sir, that “Vioxx's risk has 7 “6l-2.

been evident since trials in 1999 and ail
the way through the time of withdrawal"
in September of 2004. Do you remember

_.withdrawa

| believe you said on direct, "All you

need to know 1s VIGOR and 096 for a
proven hazard of heart attack.” Was that
your testimony?

A. As F pointed out just a
ae, that was mi the context ‘of

studies on top of every other T&
trial crossed the line in 2000 for
recommending that the drug had a
significant excess of heart attacks.

Q. The Juni article that you
keep referring to is an article that wes

saying that? i
A. Yes. 12

Q. Then you said -- you said
that “There's been replication of 14
- untoward significant excess of events of 15
heart attack, death and stroke.” Do you 16
remember testifying to that, sir? 1?
A. Yes, I do. 12
Q. And you said that based on 19
that -- let me ask you this. “20
The studies that you're 2k
referring to are VIGOR and 090. Is that 22
right, sir 23
A. No. Im referring to the 24

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written after withdrawal, correct, sir?
A. It was written before -- [

think the data was done before the 3
withdrawal. + i 4
Q. The article was published 5 strikingtwice?
after withdrawal? 6
A. 7 replication, and I nade
8 mene anking
. 2 signal d 3
“10 woul i
:1i Q. Did you also say on national
you said the following: ‘12 TV that study 090 and VIGOR was
find a problem and you're .13 independent replication, serious
pytiaybe it’s not a problem, you ‘14 confirmation and an unequivocal problem?
want to see if there's independent “15 A. All that has to do with
replication. So, if you have study 090 116

Teplication, which i

and you want to discount that somehow, ines
then you have VIGOR. You've got two for me, sir.
trials now, you have essentially :19 A. Yes. And I know exactly
lightning striking twice. That's '20 what's going to be your line of
independent replication. That's really 'Z2 questioning here.
serious confirmation. This is 22 Q. If you'd tum to Page 956 --
# unequivocal. This is a problem." Is 23 A. Yes.

_that what you said on national TV? _ 2 44  __@. = do you see inthe middie _

Page 463- Pe

ge 445

a

A, I satd that, and 1 stand by . 1 column you devote a whole section to al af
that, and that i is, when you have two ' 2 study O85 and study 090? Do you see Cantl/77em
i 3 that, sir?

ras 4 A. That's right.

S iton TV. 5 Q. Yes?

6 A. Okay. 6 A. Yes.

7 MR. HAMELINE: Again, if all 7 Q. And you talk about study 090

a you're going to do is ask him & and 08S in this article, don't you, in

9 whether he said something which is 3 August of 20017
19 already in the record from this 1G A. Yes.
1i moming and not allow him ta 1l Q. You obtained information
12 follow up or you're not going to 12 about study 090 from the FDA's website,
i3 ask him a question about this, “23 correct, sir?
14 this is a complete waste of time. 14 A. Yes, but not thoroughly
15 BY MR. GOLDMAN: °15 enough at this time.
16 Q. Did you say -- “26 Q. Did you say anything in your
17 MR. HAMELINE: Ifit's a .17 JAMA article about study 090 being a
i8 foundation or an introductory 18 lightning strike?
19 question, that's fine. 1g A. The only -- after more
29 MR. STEIN: ft is rade to 20 careful review of 090 with the
2i this witness who is not a party to _21 musclassifications that Merck had in the
22 the case. He doesn't have to be ‘22 FDA document. it was obvious that the
23 cut off. It's just not the right 43 data were wrong and that the correct data
24 thing to do. 24 are published in the New England Journal

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Page 466): Page 468
1 December 2004 correspondence that put. 1 Q. Dr. Topol, it's a very
2 Q. Did you say anything in | 2 simple question.
3 August of 2001 when you were writing your 3 Did you say in JAMA anywhere
4 article that study 090 was a lightning ' 4 whether or not study 090 and VIGOR
5 strike’? | 5 represented a serious confirmation,
6 A. The data in this ' 6 Unequivocal problem?
7 paragraph -- i 7 A. AsT said, we could not have
8 Q.__ I'm just asking if you said : 8 possibly said it at that time --
9 it in the article. £9 Q. is that a no?
10 A. -- are using meorrectly '10 A. — ~- with the data that we
11. classified data from Merck. /11 had. That's right, no.
12 Q. Idon't know what you're :12 Q. You said the things that you
13 relying on for that, but I'm not asking '13 said about lightning striking twice,
14 you about that mght now. 44 serious confirmation, unequivocal problem
/ '15 about 090 because you wanted to make
-16 Merck loak bad on TY. Isn't that true,
1.7 whether anywhere int 17 sir?
/8 that study 090 was a lightning strike? 18 A. That is conmpletely untrue.
39 A. No. Because we didn't hav 119 Q. Do you see in your JAMA
40 the nght data at that time. '20 article when you were writing to doctors,
A Q. Did you say 21° you wrote about study 085 and study 090
I 42 article that study /22 together; right?
3 ,23 A. Yes.
) Bp . 24 Q._ You did that, sir, in JAMA
Page 467 Pege 469
| 1 correct 090 data at that time, and. 1 because study 085 was a twin study, en
; | B again, the study was finished a long time yj 2 identical study to study 090; correct?
| | & before that and still has not yet been 3 A. Itis not a fwin study when
| “4 published five years later -- six years d : 4 one turns out to come out differently
\ ais fed Seoul say ’ 5 than the other.
6 TEA 6 Q. I[mtalking about the
7 JAMA -- : 7 design, not the result. [t was a twin
8 MR. GOLDMAN: Move to strike 8 study, wasn't it, sir?
3 as nonresponsive, 9 A. No, There were significant
19 BY MR. GOLDMAN: .10 differences in the design as well. They
Li Q. Did you say anywhere in your 11 were both in osteoarthritis, but study
12 JAMA article that study 090 and VIGOR was 12 O85 and 090 had differences, for example,
i3 serious confirmation of an unequivocal 13 in the dose, and there was aspirin used.
14 problem? i4 There were different -- I don't remember
is A. Again, the -- 15 all the details, but 085 and 090 were not
16 Q. Did you say thai in your .16 identical.
17 article? 17 Q. Let's look at what you wrote
18 A. It would not be possible “18 back at the time in JAMA. Do you see
12 without having access to the correct 13 that study 085, vou say, was "a
20 data. 20 randomized, double-blind
2i Q. Did you say that in your 21 placebo-controlled trial" versus -- and
22 article? 22 that's the 12.5 milligram dose. Do you
Za A. It couldn't be said in the 3 see that?
#4 article. 24 A. Yes,

Cond irre

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of knee arthritis is the same.
Q. The duration of the trials

G85 and 090 were also the same, six
weeks; correct?

> A. That's what it says here.

6 fd hike to go back to the Targum report

7 to verify that.

a Q. Do you see that in your

2 article that you wrote, patients in 085
1G were allowed to take low dose aspirin for
Li cardioprotection, and for 090, aspirin
12 for cardioprotection was also allowed.
13 Do you sée that, sir?
14 ‘A. That's what it says in the
15 article. Again, we had limited access to
16 090.
17 Q. Well, the access you had to
18 090, sir, is referenced on the last page
12° of your article in footnote 22: correct?
20 A. Which is the FDA website.
zl Q. You went to the FDA website
22 to find information from the FDA about
23 study O85 and 090, correct?

oof

ae A. That's right, but that's not

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gs WR? 2 WO OA MO we Oo MAPA un B® NE

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Ina Ba Ba BD be

Page 4723

studies, O85 and 090, which at that time
we weren't as concerned, we didn't make
much of these two studies. That's true.

MR. HAMELINE: Do you
need -- you were locking for a
letter.

THE WIPNESS: Yes. The
letter -- the letter in the New
England Joumal that I am
referring to -- I just have to --
it’s number 11] in the packet.

BY MR. GOLDMAN:

Q. Go ahead and look for it,

Dr. Fopol. I'm going to keep asking you
questions because I have a ume limit
here.

A. Go ahead.

@. You never mentioned the
results of study 085 when you were on 60
Minutes, did you, sir?

A. No. Because all I'm talking
about is replication. Tm not talking
about other trials. There are many other
trials of Vioxx, of course.

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Condinma |
Page 470! Page 472
1 Q. “Versus nabumetone," the : 1 complete information. That's the
2 thousand milligram dose. Do you see : 2 problem.
3 that, sir? / 3 Q. Let me point out, sir, that ]
4 A. Yes. . 4 when you wrote your article at the time, _ -
5 Q. That's the identical dose of ; & do you see that you wrote for study 085 He 7/@ S
6 Vioxx and nabumetone that was used in ' 6 that there were three total £ sol
7 study 090; correct? ' 9 cardiovascular events in the trial, one CAT
8 A. 6s. But as it turns out 8 for Vioxx, two for nabumetone, and none (Ss
9 there are differences, and I have to go : 9 forthe placebo group? Is that what you
10 to the Targum report. : 10 wrote in your JAMA article? Tesh tydg
11 Q. Is this what you wrote in ‘11 A. For study 085.
12 your article, sir? P12 Q. Dhid you write for study 090
13 A. Thatis what's in the / 13 that there were 9 cardiovascular events,
14 article. But you're asking about whether | 14 6 for Vioxx, 2 for nabumetone and | for
15 they are twin studies and the same, and '15 placebo? ad
16 they're not all the same, no. 16 A. That's what it says in the ry
17 Q. Do you see that study 085 17 article.
18 involved an evaluation of the treatment 18 Q. It was important to provide
19 of Vioxx in osteoarthritis patients who 13 information about 085 and 090 because you
20 had knee problems? Do you see that? /20 wanted to give the people who read this
21 A. Yes. -21. article information about both studies;
22 Q. That's the same with 090, 22 correct?
23. correct? -23 A. Well, we concentrated mainly
22h, Yes. the patient complaint 24 on VIGOR, so we gave the other two

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/ CPR yd Page 476 Foundefur
P 1 Q. You never mentioned the _ 1 sentences "Two smaller studies (Study 085
2 results of study 085 when the plaintiffs‘ < and Study 090) of” Vioxx "that both
3 lawyers were asking you questions, did _ 3 allowed the use of low-dose aspirin did
4 you, sir? ' 4 not demonstrate the significant increase h
5 A. IT wasn't asked about 085. - 3 in cardiovascular event rate noted in Owwn ly
6 Q. The truth is, when you wrote : 6 VIGOR." Did you write that, str?
7 your JAMA article, you wrote that study ‘9 A. That was in our paper,
meio OD did at demanstrate the cionificant again fron the wrong data that we did
5 increase in cardiovascular event rates _ 3 not have access to. |
10 that you saw in VIGOR? “10 Q. I want to know what data you
1 A. Only on more careful review ‘11 had access to after this point that you
12 of that data, data that was not ; 12 didn't have access to in --
13 accessible to us at that time, was I able /13 A. I'll be happy to go over
14 to find out, to drill down on these ‘14 that if you give me an opportunity,
15 events in 090. And let me just be /15 Q.  -- JAMA?
16 perfectly clear that when these data were “16 A. Page 32 of the Targum
1? reviewed, and we can go back to the “1? report.
i8 Targum report and I can take you through -18 Q. The Targum report you saw
12 patient by patient why this / 19° back in February 2001, sir?
20 misclassification had led us astray. If 120 A. Right, but then we had the
21 we had -- if this data were properly 21+ details of these patients, for example,
22 classified by Merck in what was 22 placebo, coronary occlusion, and we could
3 nstnitted to the FDA report, we would .23 say had nothing to do with a heart
f2_.o0 06 had much more definitive sownnm 24 attack,
Page 475 PSge 277
1 conclusions, but we weren't able to get i Q. Dr. Topol, the Targum report
2 there. So, if I] can go to the Targum 2 that you are relying on now for your
3 ‘ort and go right to the table, which 3 review that study 090 was a signal --
4 is veally a critical table, and we can go 4 A. Yes.
5 over that data, 5 Q. -- for cardiovascular risk
6 Q. We will do that, Dr. Topeal. 6 is the same report that you cite in your
7 We're not going to do that right now, but 7 JAMA article and that you relied on in
8 we will do that, I promise you. 8 your JAMA article. Is that true?
3 Dr. Topol, when you did your 9 A. And we had the details of
10 analysis before Vioxx was withdrawn in 10 each of the patients.
it August of 2001, you found that study 090 11 Q. You had that also in
12 did not demonstrate the significant 12 February 2001?
13 increase in CV event rates, (13 A. I did not have access to it.
14 cardiovascular event rates that were seen 14 Q. Well --
25. in VIGOR: correct? 15 A. That is, how these events
16 A. When we had incomplete +5 were characterized, coronary occlusion,
i7 access to the data, yes. I've already 17 there was one called atrial fibrillation,
18 reviewed that. 12 there was one called congestive heart
iS MR. GOLDMAN: Move to strike 1? failure. When we looked and went through
20 as nonresponsive. C each -- when I looked and others looked
21 BY MR. GOLDMAN: i going through each of these events, then
22 Q. Dr. Topol, I'm going to show <2 the numbers changed.
23 you at Page 958 in the first column. 23 QO. We'll talk about numbers
24 second full paragraph, vou say, second 22 changing ina mirute, Did vou write. Br.

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Topol, in August of 2001, that two
smaller studies -- withdrawn.
MR. KLINE: I apologize.
Where are you reading from?
MR. GOLDMAN: First column
of the JAMA article on Page 958.

MR. KLINE: Thank you.
BY MRE GOLDMAN:

data that's objectionable. We
were erroneously misled. Not only
was the suppression of 090 never
published that trial --
BY MR. GOLDMAN:
Q. You knew that --

MR. HAMELINE: Could you let
him finish?

23
Y
24

Q. Dr. Topol, did you write in
August of 2001 that "Two smaller studies
(Study 085 and Study 090)...did not
demonstrate the significant increase in
cardiovascular event rate noted in
VIGOR"? Did you write that?

A. That's correct.

Q. Did you also say in the next
sentence, "However, these studies had
smaller sample sizes, used only 25% of
the dose of" Vioxx "used in VIGOR, and
had few events for meaningful
comparison." Did you write that then,
sir?

A. That's right.

Q. You didn't say that on 60

Minutes?

MR. HAMELINE: Can I just
note an objection. I know you
want to move through these
quickly, but raising your voice --

MR. GOLDMAN: I don't mean
fo raise my vaice,

MR. HAMELINE: I know you
don't. I'm just noting that for
the record. I think it's late in
the afternoon, and we all get
involved in the deposition.

MR. GOLDMAN: I promise you
if I I'm raising my voice, I
apologize, but that’s not my
mtent at all.

THE WITNESS: You're also
not allowing me to adequately
respond.

MR. HAMELINE: That is his
intent. That's different.

THE WITNESS: And you
continue to drilf ahead, and I
don't have a chance to give you

Fage 479°:

oO

THE WITNESS: The tria! was
completed in 1999. In 2001 we
could give a couple of years to a
near thousand patient trial not
being published. But now we're in
2004, and the study is still not
published, and we didn't have the
data to go into the table of
Targum until 2004 to find out that
the events that we misclassify in
our JAMA paper were actually very
different than what we had
estimated and what Targum even had
estimated. She never spent time
on this, and it’s not a trivial

Matter, This is a 978 patient

trial with statistically

significant results of excess of

heart attacks. -
BY MR. GOLDMAN:

Q. Dr. Topol --

MR. GOLDMAN: Move to strike

as monresponsive.
BY MR. GOLDMAN:

Q. Dr. Topol, did you write
back when you were writing te doctors in
your JAMA article that study 090 had
smal] sample sizes, used only 25 percent
of the dose and had few events for
meaningful comparison? Was that your
statement in your article?

A. That was the statement based
on the data we had at the time, yes.

Q. I want to try to keep trai
of the numbers that you've used over time
for study 090, and so I'm going to give
you a chart and ask you to confinn that
this is correct.

In your August 2001 JAMA

article for study 090, you said that

44
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{Pages 47
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i there were 6 cardiovascular events in the 1 events in the Vioxx and less events in
2 Vioxx group, correct? 2 the placebo as well. It changes. And
3 A. Right. 3 it's a very important change.
4 MR. , ar 4 MR. GOLDMAN: Move to strike
5 looking at here, Mr. Goldman? 5 as nonresponsive.
€ BY MR. GOLDMAN: : 6 - 7
7 Q. 2 in the nabumetone group? - 9 (Whereupon, Deposition
8 MR. GOLDMAN: It's the JAMA 8 Exhibit Topol-41, E-mails, EIT
5 article. 3 UUOTOT, Was marked lor
10 MR. KLINE: Where are you / 10 identification.)
li pointing to? ‘11 ---
12 MR. GOLDMAN: I'm pointing (12 BY MR. GOLDMAN:
13 to Page 956, second calumn, second /13 Q. Dr. Topol, I'm going to hand
14 paragraph. :14 you what I've marked as Exhibit 41. This
15 THE WITNESS: Last sentence 15 is an e-mail that came from your files
16 of that paragraph, Study 090, 6, 2 -16 that has a Bates Number at the bottom,
17 and f, '17 EJT 191. Do you see that?
18 BY MR. GOLDMAN: (18 aXe .
19 Q. So, when you wrote your JAMA “19 Q. This is an e-mail at the
20 article, you wrote that there were 6 .20f bottom that you wrote to Marlene
41 cardiovascular events on Vioxx, 2 on 21{ Goormastic on October 25 , 2004; correct?
22 nabumetone, 1 on placebo; correct, sir? 22 A. Yes.
23 A. That's what we thought at 23 Q. Is that your statistician?
24 the time, unfortunately. a 24]... Av That's the statistician,
483! Pege 4Ps
1 Q. Within a month after 1 that's right,
2 withdrawa!, you started to write 60 2 Q. And you're writing to Ms.
3 Minutes various e-mails: ctr 3} Goornastic on October 25, this is a month
4 . Well, I had interaction with ' 4! after withdrawal, to do some statistical
S Michael Radutsky, the producer, yes. _ 31 analysis; correct?
6 Q. You talked about study 090 - & A. Yes. There was subsequent
7 im those e-mails, didn't you, sit? 7 to this as well, but this is one of the
8 A. Yes,I id as 8] interactions we had.
pO What you told 60 Minutes 9 Q. You ask Marlene at the
19 about Study 090 was different from what “10 bottom, "I need to do a test comparing
ii you wrote in your JAMA article. Isn't 1Y three treatment arms - Vioxx versus
12 that true, sir? 14 nabumetone and then Vioxx versus the
13 A. By having had a chance to 13) other two combined," meaning nabumetone
14 review these data, and I already had 14] and piacebo. "Here are the data. Vioxx,
15 mentioned this morning I was asked about, 1 7 out of 390 events.”
16 did I get a letter from Mr. Myers and 16 A. Right.
17 Bull Moyers, and when I got that, he sent 19 Q. "Nabumetone | out of 392
i8 me this report to look over, and I _ 18} events. Placebo, |! out of 196 events.”
12 started to wonder about these events that 19 Is that what you wrote to her?
20 we, unfortunately, had not had adequate 2 A. These are events that are
21 detail on Page 32 of the Targum report. 24 not death, heart attack or stroke. These
22 And it turns out, the numbers, when you 24 are events requiring cessation of the
Ye characterize each of these patients 23\ drug. This is a different part of the
A? appropriately. are different. Less Z4 :

